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                                                                                                APPEAL




                                 U.S. Bankruptcy Court
                     Eastern District of Pennsylvania (Philadelphia)
                        Adversary Proceeding #: 18−00137−mdc

Assigned to: Chief Judge Magdeline D. Coleman                  Date Filed: 06/11/18
Lead BK Case: 18−13098
Lead BK Title: Lyndel Toppin
Lead BK Chapter: 13
Demand:
 Nature[s] of Suit: 91 Declaratory judgment
                     72 Injunctive relief −
                        other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Lyndel Toppin                                   represented by STEPHEN MATTHEW DUNNE
146 S. 62nd Street                                             Dunne Law Offices, P.C.
Philadelphia, PA 19145                                         1515 Market Street
SSN / ITIN: xxx−xx−2550                                        Suite 1200
                                                               Philadelphia, PA 19102
                                                               U.S.A.
                                                               215−551−7109
                                                               Fax : 215−525−9721
                                                               Email: bestcasestephen@gmail.com

                                                              PREDRAG FILIPOVIC
                                                              I Fight 4 Justice
                                                              1735 Market Street
                                                              Ste. 3750
                                                              Philadelphia, PA 19103
                                                              267 265 0520
                                                              Email: pfesq@ifight4justice.com
                                                              TERMINATED: 06/18/2019

                                                              MEGAN N. HARPER
                                                              City of Philadelphia − Law/Revenue Dept.
                                                              1401 JFK Blvd.
                                                              Room 580
                                                              Philadelphia, PA 19102
                                                              215 686 0503
                                                              Email: megan.harper@phila.gov
                                                              TERMINATED: 02/14/2019

                                                              DAVID M. OFFEN
                                                              The Curtis Center
                                                              601 Walnut Street
                                                              Suite 160 West
                                                              Philadelphia, PA 19106
                                                              (215) 625−9600
                                                              Email: dmo160west@gmail.com
                                                              TERMINATED: 02/14/2019



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V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Jewell Williams                                  represented by MEGHAN ANNETTE BYRNES
Sheriff of the City of Philadelphia                             City of Philadelphia
Land Title Building                                             1515 Arch Street
Fifth Floor                                                     Ste 17−151
100 South Broad Street                                          Philadelphia, PA 19102
Philadelphia, PA 19110                                          215−683−5011
                                                                Email: meghan.byrnes@phila.gov

                                                                JOSHUA DOMER
                                                                City of Philadelphia Law Department
                                                                1401 JFK Blvd
                                                                5th Floor
                                                                Philadelphia, PA 19102
                                                                215 686 0519
                                                                Email: joshua.domer@phila.gov

                                                                MEGAN N. HARPER
                                                                (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Abdeldayem Hassan                                represented by STEPHEN MATTHEW DUNNE
309 Barker Avenue                                               (See above for address)
Lansdowne, PA 19050                                             TERMINATED: 02/14/2019
aka Abdeldyem Hassan
                                                                DAVID M. OFFEN
                                                                (See above for address)

 Filing Date           #                                        Docket Text

                           157    Motion for Directed Verdict Filed by Sheriff of the City of Philadelphia
                                  Represented by MEGAN N. HARPER (Counsel). (Attachments: # 1
 10/08/2020                       Proposed Order) (HARPER, MEGAN) (Entered: 10/08/2020)

                           158    Memorandum in Support of Motion for Directed Verdict Filed by
                                  MEGAN N. HARPER on behalf of Sheriff of the City of Philadelphia
 10/08/2020                       (related document(s)157). (HARPER, MEGAN) (Entered: 10/08/2020)

                           161    Response to Generic Motion filed by Defendant Sheriff of the City of
                                  Philadelphia Filed by Lyndel Toppin (related document(s)157).
 10/29/2020                       (DUNNE, STEPHEN) (Entered: 10/29/2020)

                           162    Supplemental Statement Notice of Supplemental Authority Filed by
                                  STEPHEN MATTHEW DUNNE on behalf of Lyndel Toppin (related
                                  document(s)72, 71, 112, 157, 126). (DUNNE, STEPHEN) (Entered:
 11/06/2020                       11/06/2020)

                           163    Hearing Held on Motion for Directed Verdict Filed by Sheriff of the City
                                  of Philadelphia Represented by MEGAN N. HARPER − HELD UNDER
 11/10/2020                       ADVISEMENT (G., Eileen) (Entered: 11/10/2020)

 11/08/2021                164    Order entered Granting in part, Denying in part Summary Judgment
                                  Motion (Related Doc # 157) . It is GRANTED with respect to the


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                         Debtor's request for damages for emotional distress and DENIED on all
                         other grounds asserted. 3. The Directed Verdict Motion is GRANTED. 3.
                         The Debtor's requested relief for sanctions against the Sheriff's Office
                         pursuant to Section 362 (k) of the Bankruptcy Code is DENIED. (D.,
                         Virginia) (Entered: 11/09/2021)

                   165   Memorandum Order Re: 157 . An Order consistent with this
11/08/2021               Memorandum will be entered. (D., Virginia) (Entered: 11/09/2021)




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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------x
 In re:                                                :
                                                       : Chapter 13
 LYNDEL TOPPIN,                                        :
                                                       : Bankruptcy No. 18-13098 (MDC)
                   Debtor.                             :
 ------------------------------------------------------x
 ------------------------------------------------------x
                                                       :
 LYNDEL TOPPIN,                                        :
                                                       : Adv. Pro. No. 18-00137 (MDC)
                   Plaintiff,                          :
                                                       :
                   v.                                  :
                                                       :
 JEWELL WILLIAMS SHERIFF                               :
 OF THE CITY OF PHILADELPHIA and :
 ABDELDAYEM HASSAN a/k/a                               :
 ABDELDYEM HASSAN,                                     :
                                                       :
                   Defendant                           :
 ------------------------------------------------------x

                   THE SHERIFF OF THE CITY OF PHILADELPHIA’S
                         MOTION FOR DIRECTED VERDICT

        The Sheriff of the City of Philadelphia (“Sheriff”) submits this Motion for Directed

 Verdict and in support thereof avers the following:

        1.      Plaintiff, Lyndel Toppin (the “Plaintiff”), commenced this Adversary Proceeding

 against the Sheriff and Abdeldayem Hassan alleging willful violations of the automatic stay

 under Section 362(a) of Chapter 11 of title 11 of the United States Code § 101, et seq. (the

 “Bankruptcy Code”) for post-petition enforcement of a Writ of Possession against unknown

 occupants at 146 S. 62nd Street, Philadelphia, Pennsylvania (“Property”).

        2.      The Plaintiff seeks damages including actual damages for emotional distress,

 costs and attorney’s fees pursuant to Section 362(k) of the Bankruptcy Code.




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        3.      Trial in this matter commenced on August 21, 2020.

        4.      At the close of Plaintiff’s case, the Sheriff moved for a directed verdict.

        5.      As set forth more fully in the Sheriff’s Memorandum of Law in Support of

 Directed Verdict, the Sheriff is entitled to a directed verdict pursuant to Federal Rule of Civil

 Procedure 52(c), made applicable to this adversary proceeding pursuant to Federal Rule of

 Bankruptcy Procedure 52, as Plaintiff failed to meet his burden of proof at trial.

        WHEREFORE, Court grant a directed verdict in the Sheriff’s favor, dismiss this

 adversary proceeding and grant such other and further relief as this Court deems appropriate.



                                               Respectfully submitted,

                                               THE CITY OF PHILADELPHIA

 Dated: October 8, 2020                By:      /s/ Megan N. Harper
                                               MEGAN N. HARPER
                                               Deputy City Solicitor
                                               PA Attorney I.D. 81669
                                               Attorney for the City of Philadelphia
                                               City of Philadelphia Law Department
                                               Municipal Services Building
                                               1401 JFK Boulevard, 5th Floor
                                               Philadelphia, PA 19102-1595
                                               215-686-0503 (phone)
                                               Email: Megan.Harper@phila.gov




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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------x
In re:                                                :
                                                      : Chapter 13
LYNDEL TOPPIN,                                        :
                                                      : Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      : Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                           ORDER

       AND NOW, this ____ day of ________________, 2020, upon consideration of The

Sheriff of the City of Philadelphia’s Motion for Directed Verdict (“Motion”) and Memorandum

of Law in Support thereof, and any response thereto, it is hereby ORDERED that the Motion is

GRANTED and the Complaint is hereby DISMISSED with prejudice.

                                            BY THE COURT:



                                            MAGDELINE D. COLEMAN
                                            CHIEF JUDGE, U.S. BANKRUPTCY COURT




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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------x
 In re:                                                :
                                                       : Chapter 13
 LYNDEL TOPPIN,                                        :
                                                       : Bankruptcy No. 18-13098 (MDC)
                   Debtor.                             :
 ------------------------------------------------------x
 ------------------------------------------------------x
                                                       :
 LYNDEL TOPPIN,                                        :
                                                       : Adv. Pro. No. 18-00137 (MDC)
                   Plaintiff,                          :
                                                       :
                   v.                                  :
                                                       :
 JEWELL WILLIAMS SHERIFF                               :
 OF THE CITY OF PHILADELPHIA and :
 ABDELDAYEM HASSAN a/k/a                               :
 ABDELDYEM HASSAN,                                     :
                                                       :
                   Defendant                           :
 ------------------------------------------------------x

        THE SHERIFF OF THE CITY OF PHILADELPHIA’S MEMORANDUM OF LAW
                 IN SUPPPORT OF MOTION FOR DIRECTED VERDICT

             The Sheriff of the City of Philadelphia (“Sheriff”),1 hereby files the following

 Memorandum of Law in Support of Motion for Directed Verdict.

 I.          PROCEDURAL AND STIPULATED FACTUAL BACKGROUND

             1.       On May 8, 2018, Lyndel Toppin (“Plaintiff”) petitioned this court for relief under

 Chapter 13 of the Bankruptcy Code.2

             2.       On June 11, 2018, Plaintiff commenced this adversary proceeding by filing a

 Complaint Concerning Willful Violations of the Automatic Stay by Defendant Sheriff of the City

 of Philadelphia [Docket No. 1].



 1
     The current Sheriff of the City of Philadelphia is Rochelle Bilal.




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         3.       On June 18, 2018, Plaintiff filed an Amended Complaint Concerning Willful

 Violations of the Automatic Stay by Defendants Sheriff of the City of Philadelphia and

 Abdeldayem Hassan a/k/a Abdeldyem Hassan [Docket No. 3] (“First Amended Complaint”).

         4.       On July 19, 2019, the Sheriff filed an Answer to the First Amended Complaint

 with Affirmative Defenses [Docket No. 7].

         5.       On August 18, 2018, the Sheriff filed a Motion for Judgment on the Pleadings

 [Docket No. 9] to which Plaintiff filed a reply [Docket No. 17].

         6.       A hearing on the Motion for Judgment on the Pleadings was held on September

 25, 2018. The Court held the Motion under advisement [Docket No. 21].

         7.       On September 26, 2018, Plaintiff filed a Motion for Leave to Amend Adversary

 Complaint [Docket No. 23] to which the Sheriff objected [Docket No. 25].

         8.       Following a hearing on October 23, 2018, the Motion for Leave to Amend

 Adversary Complaint was granted [Docket No. 28].3

         9.       On October 24, 2018, Plaintiff filed the Second Amended Complaint Concerning

 Willful Violations of the Automatic Stay by Defendants Sheriff of the City of Philadelphia and

 Abdeldayem Hassan a/k/a Abdeldyem Hassan (“Second Amended Complaint”) [Docket No. 29].

         10.      On November 21, 2018, the Sheriff filed an Answer to the Second Amended

 Complaint with Affirmative Defenses [Docket No. 37].

         11.      On May 24, 2019, Plaintiff filed a Motion for Judgment on the Pleadings [Docket

 No. 48] to which the Sheriff objected [Docket No. 50].




 2
   All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion for
 Directed Verdict.
 3
   A docket entry on the date of the hearing [Docket No. 27] includes the notation “UNDER ADVISEMENT
 MOOT”, which likely refers to the Sheriff’s Motion for Judgment on the Pleadings, the only motion under
 advisement at that time.

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        12.     A hearing on Plaintiff’s Motion for Judgment on the Pleadings was held on June

 18, 2019 and the Court ordered that a Scheduling Order be submitted [Docket No. 53].

        13.     On July 18, 2019, the Court issued a Pre-Trial Scheduling Order setting

 November 26, 2019 as the discovery deadline; December 26, 2019 as the deadline for filing

 summary judgment; January 16, 2020 as the discovery disclosures deadline; and February 28,

 2020 as the deadline for motions in limine [Docket No. 56].

        14.     On December 26, 2019, the Sheriff filed a Motion for Summary Judgment

 [Docket No. 71] and Memorandum of Law in Support of Motion for Summary Judgment

 [Docket No. 72].

        15.     Plaintiff filed a response to the Motion for Summary Judgment [Docket No. 105]

 and the Sheriff filed a Reply Brief in Support of Summary Judgment [Docket No. 112].

        16.     On November 26, 2020, the date of the discovery deadline, Plaintiff filed two

 Motions to Compel Discovery [Docket Nos. 59 and 60] to which the Sheriff filed a response

 [Docket Nos. 68 and 69].

        17.     On January 15, 2020, Plaintiff filed a Motion for Sanctions against the Sheriff

 [Docket No. 77] to which the Sheriff filed a response [Docket No. 92].

        18.     On January 16, 2020, in accordance with the Pre-Trial Scheduling Order, the

 Sheriff submitted its discovery disclosures [Docket No. 86], Plaintiff filed his disclosures a day

 later [Docket No. 88].

        19.     On January 28, 2020, a hearing was held on the Motion for Sanctions and

 Motions to Compel. The Motion for Sanctions and Motions to Compel were denied [Docket Nos.

 99, 101 and 111], however, the Court granted Plaintiff’s request for a deposition of an additional

 witness and instructed the Sheriff to either produce the witness or file a sworn affidavit regarding



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 measures taken to identify and produce the witness [Docket No. 111]. The Sheriff complied with

 the Court’s Order and, on March 12, 2020, filed an affidavit [Docket No. 122].

        20.       A hearing on the Motion for Summary Judgment was held on February 18, 2020.

 The Court granted the Motion in part as to Plaintiff’s claim for punitive damages and suspended

 its ruling on all other issues pending supplemental briefing on whether, by ratifying the United

 States Constitution and the Bankruptcy Clause contained therein, the States agreed to waive their

 sovereign immunity with respect to claims for violation of the stay imposed by 11 U.S.C. §362

 for enforcement of a writ of possession [Docket No. 119].

        21.       On March 25, 2020, the Court scheduled trial for July 17, 2020 [Docket No. 124].

        22.       Supplemental briefs were submitted on April 6, 2020 [Docket Nos. 126 and 127].

        23.       On July 10, 2020, Plaintiff filed a Motion to Continue the July 17, 2020 Trial

 Date and sought expedited consideration of same [Docket Nos. 130 and 131].

        24.       Following a hearing, on July 14, 2020, the Court granted the Motion and

 continued the trial to August 21, 2020 [Docket No. 137].

        25.       The morning of the trial, Plaintiff filed a Motion In Limine to Exclude the

 Testimony of Abdeldayem Hassan (“Motion to Exclude”) [Docket No. 151].

        26.       Trial commenced on August 21, 2020. At the outset of the hearing, the Court

 denied the Motion to Exclude Mr. Hassan’s testimony.

        27.       The parties stipulated to the following facts:

              x   Abdeldayem Hassan filed a Complaint in Ejectment against “Unknown
                  Occupants” pertaining the Property in Philadelphia Court of Common Pleas, in
                  January 2018, docketed as 003400;

              x   Abdeldayem Hassan procured a Judgment by Default for Possession, which was
                  entered against Unknown Occupants on April 5th, 2018 in the Philadelphia Court
                  of Common Pleas;



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               x   Abdeldayem Hassan procured a Writ of Possession against “Unknown
                   Occupants” on May 7, 2018;

               x   On May 8, 2018, Plaintiff Lyndel Toppin filed a Chapter 13 bankruptcy in the
                   Eastern District of Pennsylvania, Bankruptcy Court.

 See August 21, 2020 Trial Transcript (“Tr. Trans.”) at 55:1-17.

         28.       At the close of Plaintiff’s case in chief, the Sheriff moved for a directed verdict. 4

 Tr. Trans. at 253:2-255:13.

 II.     PRELIMINARY STATEMENT AND DIRECTED VERDICT STANDARD

         As a preliminary matter, the Sheriff’s Motion for Summary Judgment remains under

 advisement. At trial, the Court noted the Motion was under advisement and commented that it

 viewed the Motion for Summary Judgment as a threshold matter that will be addressed in the

 context of the entire case. Tr. Trans. at 7:24-9:13. The Sheriff incorporates by reference the

 Motion for Summary Judgment, Memorandum in Support of Motion for Summary Judgment,

 Reply Brief in Support of Motion for Summary Judgment and Supplemental Brief in Support of

 Motion for Summary Judgment as though fully set forth herein. In addressing the merits of

 Plaintiff’s case at trial, the Sheriff does not, nor does the Sheriff intend to, waive any arguments

 raised in the Motion for Summary judgment including, but not limited to, arguments with respect

 to sovereign immunity, quasi-judicial immunity and immunity from emotional distress damages

 under the Pennsylvania Political Subdivision Tort Claims Act.

         The Sheriff moves for a directed verdict pursuant to Federal Rule of Civil Procedure

 52(c) made applicable to this adversary proceeding pursuant to Federal Rule of Bankruptcy

 Procedure 7052 which is titled “Judgment on Partial Findings.” The rule provides that if, during


 4
  At trial, the Sheriff moved for a directed verdict, but mis-cited the applicable code provision as Federal Rule of
 Civil Procedure 41(b) made applicable to this adversary proceeding by Federal Rule of Bankruptcy Procedure 7041.
 Federal Rule of Civil Procedure 41(b), however, has been replaced by Federal Rule of Civil Procedure 52(c). See
 Fed. R. Civ. P. 52(c), advisory committee's note.

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 a nonjury trial, a party has been fully heard on an issue essential to its case and the court finds

 against the party on that issue, the court may enter judgment against the party. Such judgment

 must be supported by findings of fact and conclusions of law pursuant to Rule 52(a). Fed. R. Civ.

 P. 52. On a motion under the rule, the court applies the same standard of proof and weighs

 evidence as it would at the conclusion of trial, including making determinations of witness

 credibility. EBC, Inc. v. Clark Bldg. Sys., Inc., 618 F.3d 253, 272–73 (3d Cir. 2010). Unlike a

 motion for summary judgment, the court is not required to draw any special inferences in the

 nonmovant’s favor or consider the evidence in the light most favorable to the nonmovant. Id. at

 273. The purpose of Rule 52 motions is to conserve the time and resources of the parties and the

 court by obviating the need for the moving party to present its rebuttal case. In re Gisondi, 487

 B.R. 423, 427 (Bankr. E.D. Pa. 2013), aff'd, No. CIV.A. 13-6147, 2014 WL 683755 (E.D. Pa.

 Feb. 21, 2014).

        Plaintiff claims the Sheriff violated Section 362(a)(3) of the Bankruptcy Code, which

 stays any act to obtain possession of property of the estate, property from the estate or to exercise

 control over property of the estate. Plaintiff alleges that such violations were willful entitling

 Plaintiff to damages pursuant to Section 362(k) of the Code. Tr. Trans. at p. 40:2-15. Plaintiff did

 not meet his burden at trial.

 III.   PLAINTIFF’S CASE AGAINST THE SHERIFF IS FUNDAMENTALLY

        The general policy behind the automatic stay is to grant complete, temporary relief to the

 debtor from creditors and also to prevent the piecemeal dismantling of assets through unilateral

 creditor action. See e.g., Penn Terra Ltd. v. Department of Environmental Resources, 733 F.2d

 267, 271 (3rd Cir.1984); In re Philadelphia Consumer Disc. Co., 37 B.R. 946, 949 (E.D. Pa.

 1984) (citations omitted). Following the conclusion of Plaintiff’s case in chief, there is no



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 question that the Sheriff was not acting as a creditor nor as the agent of a creditor. The Sheriff

 was acting as an arm of the state court in enforcing a facially valid Writ of Possession. The

 transcript is devoid of any evidence or testimony to the contrary.

        Captain Sean Thornton, of the Sheriff’s Civil Enforcement Unit, testified that the unit

 oversees the execution of writs, injunctions, protections from abuse, and other civil processes.

 Tr. Trans. at 122:1-7. Sergeant Jertaria Taylor corroborated Cpt. Thornton’s testimony regarding

 her duties. Sgt. Taylor’s duties with the Civil Enforcement Unit were to enforce court orders

 including writs of possession, writs of executions, writs of attachment, “any type of court

 orders.” Tr. Trans. at 216:16-23.

        With respect the Writ of Possession, according to Cpt. Thornton, Sgt. Taylor would have

 gone to the Property on two occasions in accordance with Civil Enforcement Unit practice, once

 to attempt service of a notice to vacate and a second time to attempt service of notice of eviction.

 Each time notice would be posted to the property, left at the property and mailed to the property

 if not hand delivered to the occupant. Tr. Trans. at 203:5-14; 206; 207:8-16; 210:14-211:5.

        Sgt. Taylor confirmed that when serving writs of possession, she would first go to the

 property to serve a 21-day notice to vacate and then a second time to serve a notice of eviction.

 Two copies of each notice are left at the property and one is mailed. Tr. Trans. at 217:7-21.

 Plaintiff, testifying through his court appointed next friend, Barrington Whyte, testified that he

 saw a total of six notices inside the home between May 18, 2018 and June 7, 2018. Tr. Trans. at

 65:8-67:21; 72:23-73:23; 77:17-79:5; 84:19-86:2; 88:4-8; 89:20-90:10; 91:10-92:16.

        Plaintiff’s allegations against the Sheriff all stem from the lawful enforcement of the Writ

 of Possession. Sgt. Taylor sought to personally serve a notice to vacate once and an eviction

 notice once, but because personal service could not be made, a copy of each document was



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 posted to the Property, left in the mail slot of the Property and mailed to the Property. There is no

 suggestion that the Writ was enforced in a manner that was beyond the scope of the mandate

 contained therein, which directed the Sheriff to deliver possession to Mr. Hassan. Per Mr.

 Whyte, the last notice was received on or about June 7, 2018, before the adversary proceeding

 was commenced. Tr. Trans. at 91:10-92:16; 100:4-11. The Plaintiff was never evicted. Tr. Trans.

 at 98:4-7. There was no prior action allegedly taken by the Sheriff that needed to be or could be

 remedied—there was no alleged violation of the automatic stay that needed undoing.

        In addition, Plaintiff presented no evidence or testimony regarding whether notice was

 given to the creditor in this case, Abdeldayem Hassan, nor was there testimony or evidence to

 show that Mr. Hassan took any action to stop enforcement of the Writ of Possession. In fact, just

 prior to the trial, Plaintiff filed a motion seeking to preclude any testimony from Mr. Hassan.

        It is generally accepted law that the burden is on the creditor to notify third-parties that

 the automatic stay is in place and efforts in furtherance of execution or enforcement must cease.

 See e.g., In re Banks, 253 B.R. 25, 30 (Bankr. E.D. Mi. 2000) (“many courts have emphasized

 the obligation incumbent upon creditors to take the necessary steps to halt or reverse any pending

 State Court actions or other collection efforts commenced prior to the filing of a bankruptcy

 petition, including garnishment of wages, repossession of an automobile, foreclosure of a

 mortgage or a judgment lien and, thereby, maintain, or restore, the status quo as it existed at the

 time of the filing of the bankruptcy petition.”); In re Hardesty, 442 B.R. 110 (Bankr. N.D. Ohio

 2010) (“Once a creditor commences legal proceedings, it cannot disown all responsibility for

 actions taken by other parties in furtherance of the action.”); In re Brown, No. BR 12-14058,

 2012 WL 3908029, *5–6 (Bankr. E.D. Pa. Sept. 7, 2012) (creditor had duty to take affirmative

 action to notify Sheriff of Chester County to cease enforcement of pre-petition writ of execution



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 once creditor received notice of bankruptcy). Plaintiff recognizing the significance of the flaw in

 his case sought to exclude Mr. Hassan’s testimony as prejudicial and irrelevant.

 IV.    PLAINTIFF HAS NOT PROVEN A WILLFUL VIOLATION OF THE
        AUTOMATIC STAY

        Assuming, but not conceding, the Sheriff, a non-creditor third-party, can be held liable

 for violating the stay under the circumstances presented here, the burden was on the Plaintiff to

 prove a willful stay violation by a preponderance of the evidence.

                A ‘willful’ violation of the automatic stay occurs when the debtor
                shows, by a preponderance of the evidence, that: (1) a violation of
                the stay occurred; (2) the creditor had knowledge of the bankruptcy
                case when acting; and (3) the violation caused actual damages. In
                re Linsenbach, 482 B.R. 522, 526 (Bankr. M.D. Pa. 2012)
                (citing In re Miller, 447 B.R. 425, 433 (Bankr. E.D. Pa. 2011)
                (citation omitted); In re Frankel, 391 B.R. 266, 271 (Bankr. M.D.
                Pa. 2008) (citations omitted)). “Willfulness does not require that
                the creditor intend to violate the automatic stay provision, rather it
                requires that the acts which violate the stay be intentional.” In re
                Lansdale Family Rests., Inc., 977 F.2d 826, 829 (3d Cir. 1992)
                (citing In re University Medical Center, 973 F.2d 1065, 1087–88
                (3d Cir. 1992)).

 In re Kaushas, 616 B.R. 57, 62 (Bankr. M.D. Pa. 2020).

        The facts presented by Plaintiff regarding notice are confusing and inconclusive. There

 was some testimony from Cpt. Thornton, upon reviewing a document not introduced into

 evidence, that a fax was sent to the Real Estate Unit of the Sheriff’s Office on May 8, 2018. Tr.

 Trans. at 169:13-170:5. Cpt. Thornton also provided some testimony regarding a document from

 the Real Estate Unit identified as a “Sheriff’s Return of Service” with a Book/Writ number on it

 and the notation “5/8/2018 defending attorney. 5/9/2018.” Tr. Trans. at 178:4-180:5; 182:2-15.

 Throughout this same testimony, however, Cpt. Thornton testified that he is not familiar with the

 “Sheriff’s Return of Service”, does not know what Book and Writ refers to and that he is not

 familiar with the operations of the Real Estate Unit. Tr. Trans. at 178:4-9; 180:2-21; 182:1-3.


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 The Sheriff has admitted, however, in its Response to Requests for Admission, which were

 admitted into evidence at trial as P-23, that the Sheriff’s Real Estate Unit received notice of

 Plaintiff’s bankruptcy on or about May 8, 2018 and that a fax was received at the fax number for

 the Real Estate Unit containing a Notice of Bankruptcy on behalf of Plaintiff on May 8, 2018.

 See P-23 at Response to Request 15 and Response to Request 19.

        Cpt. Thornton was also referred to another document not admitted into evidence that had

 the fax number for the Civil Enforcement Unit that was a two-page document that looked like a

 notice of bankruptcy that he had only seen in the context of trial. Tr. Trans. at 189:19-190:20.

 The Sherriff admitted in its Responses to Requests for Admissions only that on May 10, 2018 a

 fax was transmitted to fax number 215-686-3955 with the subject line “Notice of Bankruptcy.”

 See P-23 at Response to Request 22. Requests for Admission seemed to refer to, but did not

 attach nor specifically identify documents produced by Plaintiff during discovery. It remains

 entirely unclear whether the Response to Request 22 is referring to the same document that Cpt.

 Thornton was asked to review at trial, which was not admitted. The Sheriff did admit, however,

 that it received a fax sent to the fax number for the Civil Enforcement Unit containing a Notice

 of Bankruptcy Filing on behalf of Plaintiff on June 7, 2018. See P-23 at Response to Request 24.

        The evidence with respect to notice, at the close of Plaintiff’s case, is that the Real Estate

 Unit received notice of Plaintiff’s bankruptcy on May 8, 2018 and the Civil Enforcement Unit

 received notice of Plaintiff’s bankruptcy on June 7, 2018. There is no evidence or testimony to

 establish that efforts to enforce the Writ of Possession continued after June 7, 2018.

        Plaintiff’s position appears to be that notice to the Real Estate Unit is notice to all

 departments of the Sheriff’s Office, which include installations at the Criminal Justice Center

 and Family Court, the Warrant Unit, Civil Enforcement Unit and Real Estate Unit. Tr. Trans. at



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 125:3-126:4. Even a creditor cannot be held responsible for a violation of the automatic stay

 unless conduct that is the subject of such violation receives sufficient notice of the order for

 relief under Section 342 of the Bankruptcy Code. 11 U.S.C.A. § 342(g)(2). The Sheriff is not a

 creditor. There was no evidence at trial that prior to June 7, 2018 the Civil Enforcement Unit

 received notice of the bankruptcy. When the Civil Enforcement Unit did receive notice of the

 bankruptcy, it followed policy and ceased enforcement. 5

         Even if the Court finds the Sheriff had sufficient notice of the bankruptcy when it made

 efforts to enforce the Writ of Possession, the violation did not cause the Plaintiff any actual

 damages. Section 362(k) allows a debtor to recover actual damages stemming from a willful

 violation of the automatic stay. 11 U.S.C. § 362(k)(1). An award of actual damages may include

 lost wages or emotional distress damages. See In re Johnson, 601 B.R. 365, 378 (Bankr. E.D.

 Pa. 2019); In re Lansaw, 853 F.3d 657. 668 (3rd Cir. 2017); In re Vu, 591 B.R. 596, 605 (Bankr.

 E.D. Pa. 2018). Actual damages must be supported by concrete evidence and proven with

 reasonable certainty and cannot be based upon speculation, guess and conjecture. In re Vu, 591

 B.R. at 604 (citations omitted). The only evidence of damages at trial was the following

 testimony from Mr. Whyte:

                  Q. Mr. Whyte, I'll ask you now some questions about your uncle.
                  And I'm going to direct you at the exact time when these notices
                  started arriving at your house. How did those notices affect your
                  uncle, if at all? From your own personal observations?

                  A. Well, from me seeing, you know, and knowing, and living with
                  him for so long, he's just -- he's been kind of like distorted. You
 5
   Philadelphia Sheriff’s Office Directive #28 (“Directive”) was admitted into evidence as City-28. The Directive
 provides:
                  When [a notice of bankruptcy is] received by the Sheriff’s Office, all legal
                  action is to stop. Details, numbers and other particulars are to be recorded in
                  division docket and on writ. If there is any question as to the validity, postpone
                  any action. Must check with attorney on writ for Bar Order.

 See City 28.

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                know, he's always like looking at me when he picks up the papers,
                just like to -- for me to give a good response to him, you know,
                basically on it. But I think – I can't really give a good response
                because I don't know a good response. I don't know how this
                situation is going to turn out. So and my stress, you know, leans off
                on him. But on top of that also, just been -- you know, he's been
                off. He hasn't been, like, 100%. You know, he's been smoking
                cigarettes more a lot. He's been, like, not basically eating the
                dinners that I, like, serve for him or, like, put out for him to eat.

 Tr. Trans. at 95:11-96:3.

                Q. Do you think that from your, I guess, experience with your
                uncle, what kind of effect, if any, do you think that they had on
                him and did that manifest itself somehow in his behavior? If you
                could tell the court.

                A. Well, as I said before, he hasn't been eating. Like, his normal
                routine, and he's been, like, smoking more Newports, you know,
                now because, you know, I smell it more often now. And like I say,
                he's like -- he’s basically not what I'm used to. He's, like, kind of
                out of it. He's been, like, missing sleep and things like that.
                Because I would notice when I come in his, you know, light would
                be on in his room about 2:00, 3:00 in the morning. Normally, you
                know, we're asleep and the household is down by that time.

                Q. Do you believe upon your personal observations, did he
                understand what the notice entails? Do you know if he knows what
                it means to vacate?

                A. Well, he doesn't -- he cannot read the notice at all, but what he
                actually directly pointed out to me was, you know, the big bold red
                letters and the little shield that's on there. That's mainly what he
                pointed out to me.

                Q. Okay. And how is he now? It's been some time since the notices
                came in, how is he now?

                A. He's still not eating on, you know, on schedule as we usually
                do. He's still smoking a lot. He's still doing that. And he's still just,
                like, sitting around in the living room, you know, just there. He's
                not -- like, with no T.V. on or nothing. He'll just be, like, there.

 Tr. Trans. at 97:2-98:3.




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           The Sheriff recognizes that Plaintiff is purportedly deaf and mute with no ability to read

 which would make establishing emotional distress damages difficult to prove. However, the lack

 of any context, detail or temporal perspective that can link any of Mr. Whyte’s observations

 causally to the alleged stay violations renders the damages testimony unconvincing and

 unreliable. Mr. Whyte’s testimony alone is not sufficient to award actual damages in this case.

 This is especially so in light of the fact that there is no evidence, circumstantial or direct, that Mr.

 Toppin or anyone else observed Sgt. Taylor at the Property or had any interaction with Sgt.

 Taylor.

           The Third Circuit has noted that, in the absence of “patently egregious” violations,

 “corroborating medical evidence may be required to prove emotional harm and causation.”

 Lansaw, 853 F.3d at 669. Although the court did not define what facts would give rise to such a

 determination, the facts of the instant case are markedly different from the “patently egregious”

 fact pattern in Lansaw, which included post-petition conduct by a defendant landlord such as

 entering plaintiff’s business without permission, chaining and padlocking doors, physical

 intimidation and threatened legal action. Id. at 661-662.

           Here, the Sheriff was tasked with enforcing a facially valid court order for Writ of

 Possession. In an attempt to properly notify any potential occupants at the Property, attempt at

 personal service was made on two occasions. When personal service could not be had on those

 two occasions, notice was posted to the property, left in the mail slot and sent by mail. The Civil

 Enforcement Unit had no knowledge that there was a bankruptcy related to the eviction action.

 Further, the Sheriff in this context was not acting as a creditor, but rather as an arm of the

 judicial system, implementing court-related processes as mandated by state law.




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        These facts do not rise to a willful violation of the automatic stay, let alone the type of

 egregious conduct that would absolve the Plaintiff from presenting corroborating information of

 emotional distress. See e.g., In re Wingard, 382 B.R. 892, 906 (Bankr. W.D. Pa. 2008)(creditor’s

 post-petition debt collection activity not patently egregious to give rise to presumption of

 emotional distress without demonstration of significant harm). The reason why hard evidence of

 emotional distress damages is required is to ensure against “a ‘cottage industry’ built around

 satellite fee litigation” where a violation does not cause damages. In re Prusan, 495 B.R. 203,

 208 (Bankr. E.D.N.Y. 2010) (citations omitted).

        WHEREFORE, the City of Philadelphia respectfully requests that the Court grant a

 directed verdict in the Sheriff’s favor, dismiss this adversary proceeding and grant such other and

 further relief as this Court deems appropriate.



                                               Respectfully submitted,

                                               THE CITY OF PHILADELPHIA

 Dated: October 8, 2020                By:      /s/ Megan N. Harper
                                               MEGAN N. HARPER
                                               Deputy City Solicitor
                                               PA Attorney I.D. 81669
                                               Attorney for the City of Philadelphia
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                                               Email: Megan.Harper@phila.gov




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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 __________________________________________
 In re:                                     :
                                           :                  Chapter 13
 LYNDEL TOPPIN,                             :
                                           :
             Debtor.                        :                 Bankruptcy No. 18-13098 (MDC)
 __________________________________________:
                                           :
 LYNDEL TOPPIN,                             :
                                           :
             Plaintiff,                     :
                                           :
             v.                            :                  Adv. Proc. No. 18-00137 (MDC)
                                           :
 JEWELL WILLIAMS, SHERIFF                   :
 OF THE CITY OF PHILADELPHIA and            :
 ABDELDAYEM HASSAN a/k/a                    :
 ABDELDYEM HASSAN,                          :
                                           :
             Defendants.                    :
 __________________________________________:


            LYNDEL TOPPIN’S MEMORANDUM OF LAW IN RESPONSE
                     TO THE SHERIFF OF THE CITY OF
        PHILADELPHIA’S MOTION FOR JUDGMENT ON PARTIAL FINDINGS


        Lyndel Toppin asks the Court to deny the Sheriff of the City of Philadelphia’s motion for

 judgment on partial findings.

                                 A. INTRODUCTION

 1.     Plaintiff is Lyndel Toppin; defendant is the Sheriff of the City of Philadelphia;

 2.     Plaintiff sued defendant for violation of the automatic stay;

 3.     The bench trial of this case began on August 21, 2020;

 4.     The Court heard Plaintiff’s case and after Plaintiff rested, 55 days later, on October 15th

 2020, Defendant filed its motion claiming it is entitled to directed verdict judgment as a matter of




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 law on partial findings and without its own evidence or witnesses to rebut what the Plaintiff has

 set forth;

 5.    For reasons stated below this Court should deny Defendant’s motion.

                                I.      STANDARD FOR REVIEW

         Federal Rule of Bankruptcy Procedure 7052 entitled “Findings by the Court,”

 incorporates Federal Rule of Civil Procedure 52. Federal Rule of Civil Procedure 52(c) states:

         Judgment on Partial Findings

         If a party has been fully heard on an issue during a nonjury trial and the court finds

         against the party on that issue, the court may enter judgment against the party on a claim

         or defense that, under the controlling law, can be maintained or defeated only with a

         favorable finding on that issue. The court may, however, decline to render any judgment

         until the close of the evidence. A judgment on partial findings must be supported by

         findings of fact and conclusions of law as required by Rule 52(a).

         Under this Rule, a court assesses the evidence presented and may render judgment if the

 evidence is insufficient to support a claim or defense.5 See Carter v. Ball, 33 F.3d 450 (4th

 Cir.1994); FED. R. CIV. PROC. 52 Advisory Committee Note (2007) (noting that “[t]he

 standards that govern judgment as a matter of law in a jury case have no bearing on a decision

 under Rule 52(c)”). The Court is required by Federal Rule of Civil Procedure 52(a) to “find the

 facts specially and state its conclusions of law separately.”


         Plaintiff has more than ample evidence in introduced evidentiary evidence as well as

 sworn testimony as well as admissions by the Defendant made pursuant to F.R.C.P 36.




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                            II. SUMMARY OF THE ARGUMENT


           The automatic stay, imposed by 11 U.S.C. § 362(a), prohibits, inter alia, "any act to

 collect ... or recover a claim against the debtor that arose before the commencement of the case,"

 11 U.S.C. § 362(a)(6) and "any act to obtain possession of property of the estate or of property

 from the estate or to exercise control over property of the estate," 11 U.S.C. § 362(a)(3).

           A willful violation of the automatic stay gives rise to a claim for damages, as set forth in

 11 U.S.C. § 362(k): Plaintiff has shown in no small part by use of City’s exhibits that there was

 at least 6 instances or acts by the Sheriff that sought “to obtain possession of property of the

 estate or of property from the estate or to exercise control over property of the estate," 11 U.S.C.

 § 362(a)(3). “



                                          B. ARGUMENT

         During a bench trial, a court may render judgment on partial findings against a party if it

 determines that the party cannot prevail on an issue and that the party’s claim or defense cannot

 be maintained or defeated without a favorable finding on that issue. Fed. R. Civ. P. 52(c); see

 Geddes v. Nw. Mo. State Univ., 49 F.3d 426, 429 n.7 (8th Cir. 1995). However, this is not a case

 in which the Court should do so.

         The Court should deny the Sheriff of the City of Philadelphia’s motion for judgment on

 partial findings because all material issues of fact are supported by evidence sufficient for Lyndel

 Toppin to prevail.

    I.        THROUGH DOCUMENTIARY EVIDENCE, WITNESS TESTIMONY AND

  ADMISSIONS OF THE SHERIFF PLAINTIFF HAS SHOWN BY PREPONDERANCE

   OF EVIDENCE THAT DEFENDANT HAD NOTICE OF THE BANKRUPTCY CASE




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        The Philadelphia Sheriff’s Office admitted receiving multiple Notice(s) of the Lyndel

 Toppin Bankruptcy on May 8, 2018 in its Response(s) to Requests for Admission, which were

 admitted into evidence at trial as P-23.


       F.R.C.P 36 (b) Effect of an Admission; Withdrawing or Amending It.


   A matter admitted under this rule is conclusively established unless the court, on motion,

 permits the admission to be withdrawn or amended. Subject to Rule 16(e), the court may permit

 withdrawal or amendment if it would promote the presentation of the merits of the action and if

 the court is not persuaded that it would prejudice the requesting party in maintaining or

 defending the action on the merits. An admission under this rule is not an admission for any

 other purpose and cannot be used against the party in any other proceeding.


   In this case, Court did not allow the admission to be withdrawn or amended and Defendant did

 not seek to withdraw or amend any of its admissions. At issue herein are on notice are the

 following admissions:


 RFA No. 15: Admit that You received notice of the Lyndel Toppin bankruptcy on May 8,
 2018?

 Answer No. 15: Admitted.

 RFA No. 19: Admit that You received a fax at 215-686-3971 from Stephen Dunne on May 8,
 2018 containing a Notice of Bankruptcy Case Filing on behalf of Lyndel Toppin?

 Answer No. 19: Admitted.

        The evidence with respect to notice is unequivocal that multiple Notice(s) of the Lyndel

 Toppin Bankruptcy were received by the Sheriff’s office on May 8, 2018. Even the Sheriff’s

 trial exhibits suggest that the Sheriff was fully aware of the Lyndel Toppin bankruptcy on May

 10, 2018 as evidenced by Defendant’s Trial exhibit, “Service Event Report” entered by Sgt. J.




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 Taylor on May 10, 2018 admitted into evidence at trial as C-4. Further, the Defendant’s internal

 records identified as “Sheriff’s Return of Service” marked (P-35) indicate that a bankruptcy was

 filed in the Sheriff’s office on May 9, 2018.


           Furthermore, Captain Sean Thornton testified that a Notice of Bankruptcy Case Filing on

 behalf of Lyndel Toppin admitted into evidence at trial as C-2 was transmitted to 215-686-3971

 which he identified as the fax number for the Real Estate Division of the Office of the Sheriff.

 Tr. Trans. at 169:13 - 170:5. Notwithstanding, that does not stop the Sheriff from displaying

 remarkable ineptitude in taking the strained, if not disingenuous position that those Notice(s) do

 not count because the Sheriff’s Office has several departments and therefore deserves additional

 notice.


           A similar argument demanding more notice was advanced by the defendant, United

 Student Aid Funds, Inc. in Espinosa v. United Student Aid Funds, Inc., 553 F. 3d 1193 - Court of

 Appeals, 9th Circuit 2008 and the Ninth Circuit harshly rejected the Funds’ arguments stating:

 “The Funds are not “destitute widows and orphans, or people who don’t speak English or can’t

 afford a lawyer.” Espinosa, 553 F.3d at 1201. The Ninth Circuit explained that “notice of how

 the Chapter 13 plan affects creditors’ rights is all that the Constitution, the Bankruptcy Code and

 the Bankruptcy Rules require to bind creditors to the provisions of the confirmed plan.

 “Espinosa, 553 F.3d at 1202 (citations omitted).


           The Supreme Court addressed how much notice and due process is enough to constitute

 notice under the U.S. Constitution and the Bankruptcy Code in United Student Aid Funds, Inc. v.

 Espinosa, 559 US 260 - Supreme Court 2010, 130 S.Ct. 1367 (2010). The Supreme Court has

 held that constitutionally “adequate notice” is a low barrier to meet in that all that is required is




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 that “notice [be] reasonably calculated under all circumstances, to apprise interested parties of

 the pendency of the action and afford them an opportunity to present their objections.” Espinosa

 v. United Student Aid Funds, Inc., 553 F.3d 1193, 1202 (9th Cir. 2008), cert. granted, 2009 WL

 646192 (U.S. 2009)(quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314,

 70 S. Ct. 652, 94 L. Ed. 865 (1950)).


           There is conclusive evidence that notice was received by the Sheriff’s office on May 8,

 2018 in the Sheriff’s Response(s) to Requests for Admission, which were admitted into evidence

 at trial as P-23. There are multiple trial exhibits that support this fact - “Service Event Report”

 marked C-4; “Sheriff’s Return of Service” marked (P-35); “Notice of Bankruptcy Case Filing”

 on behalf of Lyndel Toppin marked C-2; along with Captain Sean Thornton’s testimony on

 Exhibit C-2 identifying the fax number for the Real Estate Division. Tr. Trans. at 169:13 -

 170:5.


           Therefore, the Sheriff’s actual notice of the debtor’s bankruptcy filing more than satisfied

 its due process rights and its persistent contumacy is no excuse for violating this Court’s order

 which automatically became effective on May 8, 2018 when Lyndel Toppin petitioned this Court

 for relief under Chapter 13 of the Bankruptcy Code.


           Defendants own policies and procedures admitted at trial, (P-16, C-26) in relevant portion

 states:




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          Indeed, the Court clarified the term “Sheriff’s office” in the Sheriff’s bankruptcy policy

 sua sponte by questioning the witness, Lt. Thornton:

        THE COURT: Do you agree, Mr. Thornton, it doesn’t say which department. It says

 when received by the Sheriff’s office.

                A.     That is correct. Tr. Trans. at 132:22 - 132:25.

        Defendant is now attempting to avoid liability and negate notice, by inserting a

 departmentalization requirement for the notice, not found in the statute, in case law, and certainly

 not in Sheriff’s own policies and procedures. Even without viewing all reasonable inferences in

 light most favorable to Plaintiff which the Court must do, Plaintiff easily meets the burden.



              II.     SHERIFF’S VIOLATION(S) OF THE AUTOMATIC STAY


        A violation of the automatic stay is willful if a creditor's conduct was intentional (as

 distinguished from inadvertent), and committed with knowledge of the pendency of the

 bankruptcy case. Laboy v. Doral Mortg. Corp. (In re Laboy), 647 F.3d 367, 374 (1st Cir.

 2011) (quoting In re McMullen, 386 F.3d 320, 330 (1st Cir. 2004). "A willful violation does not

 require a specific intent to violate the automatic stay[,]" rather, the creditor need only intend the

 act which violates the stay. Fleet Mortg. Grp. v. Kaneb, 196 F.3d 265, 269 (1st Cir. 1999).

        It is well known that the automatic stay is designed to stop pending debt collection

 activity and litigation and is considered one of the fundamental protections afforded by the

 Bankruptcy Code. E.g., In re Billings, 544 B.R. 529, 533 (Bankr. E.D. Pa. 2016) (citing H & H

 Beverage Distributors v. Dep't of Revenue of Com. of Pa., 850 F.2d 165, 166 (3d Cir. 1988)),

 aff'd, 687 Fed.Appx. 163, 2017 WL 1488657 (3d Cir. Apr. 26, 2017) (nonprecedential).




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        Sheriff’s actions in continuing with the commencement or continuation, including the

 issuance or employment of process, of a judicial, administrative, or other proceeding against the

 debtor by visiting his personal residence; posting his property; inserting notices in his mailbox;

 and mailing Notices to Vacate and Eviction Notices all constitute individual and separate

 violations of the automatic stay under § 362(k). Nothing is more threatening to a debtor than the

 strong arm of the state engaging in unlawful enforcement. The Sheriff engaged in unlawful

 employment of process specifically prohibited by the automatic stay and its own Sheriff’s

 bankruptcy policy.

        Captain Sean Thornton testified that the Sheriff’s policy admitted into evidence at trial as

 C-26 is to stop action in connection with any type of enforcement, including the deliverance of

 any writs, service of any notices to vacate properties when the Sheriff is given notice that a

 debtor filed bankruptcy. Tr. Trans. at 126:9 - 126:21. Indeed, this bankruptcy policy to stop

 unlawful enforcement during the pendency of a bankruptcy case has been in effect at the

 Sheriff’s office since May 12, 1988. Tr. Trans. at 127:20. Cpt. Thornton testified that “The

 purpose of this directive is to establish a policy of receiving, recording, and handling of stay

 order, bankruptcy petitions, and appeals when received by the sheriff’s office.” Tr. Trans. at

 130:5 - 130:8.

        Cpt. Thornton testified that when notice is received by the sheriff’s office all legal action

 is to stop. Tr. Trans. at 130:13 - 130:14. Notice of Bankruptcy is effective on the same day it is

 received by the Sheriff’s office as set forth by the Sheriff’s bankruptcy policy and confirmed by

 Cpt. Thornton. All legal action is to stop when bankruptcy notice is received by Sheriff’s office.

 Tr. Trans. at 130:13 - 130:14.




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        It’s important to highlight the term “Sheriff’s office” in the Sheriff’s bankruptcy policy as

 the defendant is attempting to evade notice of the bankruptcy in this case as well as shirk

 responsibility for its actions in violating the automatic stay by suggesting to the court that a

 specific department or sub-division of the Sheriff’s office must be notified in order for the

 bankruptcy notice to be effective.

        Plaintiff has shown that actions of Office of the Sheriff were willful in that it engaged in

 above cited acts forbidden by 11 U.S.C. § 362(a), with full knowledge of BK, in contravention of

 not only the BK code section cited, but also in infringement of its own policy and procedure.

        The Sheriff’s bankruptcy policy was violated on May 8, 2018 as the Sheriff

 acknowledged receiving actual notice of Lyndel Toppin’s bankruptcy filing on May 8, 2018. See

 Def.’s Memo at pg. 10, ¶1.

        Barrington Whyte testified that Lyndel Toppin brought all (“6”) six Notices to Vacate

 and Eviction Notice inside the house. Tr. Trans. at 93:14 - 93:20. Mr. Whyte also testified to

 inserting a date notation on each document received from the Sheriff’s Office in order to

 remember the date that each notice was delivered. Tr. Trans. at 76:20 - 76:24. Mr. Whyte

 testified that he inserted the May 18, 2018 date on the Sheriff’s Notice to Vacate marked as C-

 14; the May 24, 2018 date on the Sheriff’s Notice to Vacate marked as C-15; the May 30, 2018

 date on the Sheriff’s Notice to Vacate marked as C-16; the June 1, 2018 date on the Sheriff’s

 Eviction Notice marked as C-17; the June 5, 2018 date on the Sheriff’s Eviction Notice marked

 as C-18 which was erroneously described by the transcriber as a Notice to Vacate; the June 7,

 2018 date on the Sheriff’s Eviction Notice marked as C-19 which was erroneously described by

 the transcriber as a Notice to Vacate. Tr. Trans. at 73:20 - 73:23; 78:25 - 79:21; 85:23 - 86:2;

 88:4 - 88:14; 90:1 - 90:13; 91:19 - 92:8.




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        The aforementioned six (“6”) notices received by Lyndel Toppin are in line with the

 Sheriff’s practice as explained by Cpt. Thornton whereby a deputy will go to the subject property

 and hand deliver notice to the occupant and if the occupant does not answer the door, they will

 post it on the property; leave it in the mail slot; and mail a notice in the United States Postal Mail

 addressed to the recipient. Tr. Trans. at 210:18 - 211:5; 211:14 -211:17.

        The Court sua sponte asked Cpt. Thornton for clarification on the number of notices

 served upon an occupant:

        THE COURT: Oh, so let me — that’s three documents that are left on each occasion?

                A.      But it’s the same document, Your Honor.

        THE COURT: Documents are left at the property and one’s mailed out?

                A.          That is correct, yeah.

        Tr. Trans. at 206:21 - 207:6.

        Sergeant Taylor testified that she personally served the red Notice to Vacate on May 10,

 2018 and posted it on the property by taping it to the door. Tr. Trans. at 221:20 - 221:23; 239:5 -

 239:6; 241:2. Sgt. Taylor further testified to serving the Notice to Vacate on May 10, 2018

 marked as C-14 along with the Eviction Notice on June 1, 2018 marked as C-17. Tr. Trans. at

 221:20 - 221:23; 237:6 - 237:10.

        Sheriff had knowledge of the existence of the Lyndel Toppin bankruptcy case on May 8,

 2018. Knowledge of the existence of the bankruptcy case is “treated as knowledge of the

 automatic stay.” In re Theokary, 444 B.R. 306, 322 (Bankr. E.D. Pa. 2011). In this case, there is

 no dispute that the Sheriff engaged in unlawful process post-petition and Sheriff’s acts were

 carried out with intent.




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                       III.   LYNDEL TOPPIN’S ACTUAL DAMAGES


      Plaintiff Lyndel Toppin has a mental disability in that he is both deaf and mute and unable

 to communicate to the court the extent of his emotional; physical; and psychological distress that

 he has experienced at the hands of the Sheriff’s office in connection with its unlawful

 enforcement of the Writ, attempting to seize his home.

        Barrington Whyte was Appointed Next Friend on July 10, 2018 permitting Barrington to

 testify on behalf of Uncle, Lyndel. Barrington has lived with Lyndel most of his adult life.

 Barrington is very familiar with Lyndel’s habits, mannerisms and his idiosyncrasies. Defendant’s

 argument in the area of damages really comes down to a challenge to this Orde, and the notion

 that Barrington Whyte a friend of Court by Order of this Court. Since this issue has already been

 decided, such challenge is now barred by doctrine of res judicata and collateral estoppel.

        Barrington testified that Lyndel brought all (“6”) six Notices to Vacate and Eviction

 Notices inside the house. Tr. Trans. at 93:14 - 93:20. Barrington testified that he personally

 observed Lyndel picking up these notices a couple of times and looking at Barrington to give

 him an answer. Tr. Trans. at 96:13 - 96:19. Barrington testified that Lyndel ‘directly pointed out

 to Barrington’ the “big bold red letters and the little shield” on the Notices to Vacate and

 Eviction Notices. Tr. Trans. at 97:19- 97:20.

        Barrington testified that Lyndel would “pick up the papers” and look at him “to give a

 good response to him” and because Barrington was unable to do so he described Lyndel as “been

 off.” Tr. Trans. at 95:19- 95:24. Barrington testified that the Sheriff’s notices caused Lyndel to

 be ‘distorted,’ and he knows this to be true based upon “living with him for so long.” Tr. Trans.

 at 95:16- 95:18.




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        As his only caretaker, Barrington personally observed that Lyndel “not basically eating

 dinners that I serve for him. Tr. Trans. at 96:1- 96:2. Barrington observed that Lyndel “smoking

 cigarettes more a lot.” Tr. Trans. at 95:25- 96:1. Barrington specifically stated that Lyndel hasn’t

 been eating; smoking more cigarettes; missing sleep; pacing in his bedroom at 2.00 AM, 3.00

 AM in the morning and generally “He’s, like, kind of out of it.” Tr. Trans. at 97:6- 97:13.

        On the day of the trial, Barrington testified that the stress of these events has still affected

 his Uncle Lyndel in that “He’s still not eating; on schedule as we usually do; he’s still smoking a

 lot; and he’s sitting around in the living room with the T.V. off.” Tr. Trans. at 97:24- 98:3.

        Plaintiff has demonstrated that the Sheriff’s conduct has caused actual damages that are

 still lingering today through the first-hand personal observations of the Appointed Next Friend,

 Barrington Whyte.

                                C. CONCLUSION

        The Court should deny the Sheriff of the City of Philadelphia’s motion for judgment on

 partial findings because all material issues of fact are supported by evidence sufficient for Lyndel

 Toppin to prevail. There is conclusive evidence that notice was received by the Sheriff’s office

 on May 8, 2018 in the Sheriff’s Response(s) to Requests for Admission which were admitted

 into evidence at trial as P-23. There are multiple trial exhibits that support this fact - “Service

 Event Report” marked C-4; “Sheriff’s Return of Service” marked (P-35); “Notice of Bankruptcy

 Case Filing” on behalf of Lyndel Toppin marked C-2; along with Captain Sean Thornton’s

 testimony on Exhibit C-2 identifying the fax number for the Real Estate Division. Tr. Trans. at

 169:13 - 170:5.

        Sergeant Taylor testified that she personally served the red Notice to Vacate on May 10,

 2018 and posted it on the property by taping it to the door. Tr. Trans. at 221:20 - 221:23; 239:5 -




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 239:6; 241:2. Sgt. Taylor further testified to serving the Notice to Vacate on May 10, 2018

 marked as C-14 along with the Eviction Notice on June 1, 2018 marked as C-17. Tr. Trans. at

 221:20 - 221:23; 237:6 - 237:10.

        Barrington Whyte testified that Lyndel Toppin brought all (“6”) six Notices to Vacate

 and Eviction Notice inside the house. Tr. Trans. at 93:14 - 93:20. Mr. Whyte also testified to

 inserting a date notation on each document received from the Sheriff’s Office in order to

 remember the date that each notice was delivered. Tr. Trans. at 76:20 - 76:24.

        Plaintiff has demonstrated that the Sheriff’s conduct has caused actual damages that are

 still lingering today through the first-hand personal observations of the Appointed Next Friend,

 Barrington Whyte.


         For these reasons, Lyndel Toppin asks the Court to deny the City of Philadelphia’s

 motion for judgment on partial findings.


 Respectfully submitted,

 Dated: October 29th, 2020



        BY: /s/ Predrag Filipovic                    BY: /s/ Stephen M. Dunne
        Predrag Filipovic, Esquire                   Stephen M. Dunne, Esquire
        1735 Market St., Suite 3750                  1515 Market Street, Suite. 1200
        Philadelphia, PA 19103                       Philadelphia, PA 19102
        267-265-0520 Phone                           (215) 551-7109 Phone
        Attorney for Plaintiff                       Attorney for Plaintiff




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Lyndel Toppin                                        : Chapter 13
                                                      :
                               Debtor.                : Case No. 18-13098-MDC
 _____________________________________________________________________________
                                                      :
 Lyndel Toppin                                        :
        Debtor/Plaintiff                              :
 v.                                                   : Adv. Proc. No. 18-00137-MDC
                                                      :
 Jewell Williams, Sheriff of the City of Philadelphia :
 and Abdeldayem Hassan a/k/a Abdeldyem Hassan :
                                                      :
                               Defendants.            :

        PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY RELATED TO
              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Plaintiff, Lyndel Toppin respectfully submits this Notice of Supplemental Authority
 relating to the Bankruptcy Code’s broad abrogation of sovereign immunity.

        In the case of In re Brian Coughlin, (Bankr. D. Mass. 10/19/20), Case No. 19-14142,
 Judge Bailey held that:

        “The Bankruptcy Code contains a broad abrogation of sovereign immunity. Pursuant to
        Section 106(a) of Title 11, “sovereign immunity is abrogated as to a governmental unit,”
        with respect to Section 362. Section 101(27) defines “governmental unit” as follows
        “United States; State; Commonwealth; District; Territory; municipality; foreign state;
        department, agency, or instrumentality of the United States . . . , a State, a
        Commonwealth, a District, a Territory, a municipality, or a foreign state; or other foreign
        or domestic government.” 11 U.S.C. § 101(27) (emphasis added).

         Plaintiff attaches the decision which is germane to the Defendant’s position that the
 Sheriff enjoys immunity to an action under 11 U.S.C. § 362(k).

 Dated: November 6, 2020                              By: /s/ Stephen M. Dunne




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                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MASSACHUSETTS
                                             EASTERN DIVISION

   In re

   BRIAN W. COUGHLIN,                                        Chapter 13
                                                             Case No. 19-14142-FJB
                              Debtor


                           MEMORANDUM OF DECISION AND ORDER ON
             MOTIONS TO DISMISS THE DEBTOR’S MOTION TO ENFORCE THE AUTOMATIC STAY

           The debtor, Brian W. Coughlin (the “Debtor”), filed a motion to determine that four related

 parties have violated the automatic stay (the “Stay Motion”). See 11 U.S.C. §362(k). Those parties are

 Niiwin, LLC d/b/a Lendgreen (“Lendgreen”), L.D.F. Business Development Corporation (“BDC”), L.D.F.

 Holdings, LLC (“Holdings”), and the Lac du Flambeau Band of Lake Superior Chippewa Indians (the

 “Tribe”) (collectively, the “Alleged Violators”). The Alleged Violators filed motions to dismiss the Stay

 Motion, and the court ordered that the provisions of Fed.R.Bankr.P. 7012 would apply to the motions to

 dismiss. See Fed.R.Bankr.P. 9014(c)(“[t]he court may at any stage in a particular matter direct that one

 or more of the other rules in Part VII shall apply”).

           In evaluating a motion to dismiss, I take the well-pled facts to be true (although I note that the

 Alleged Violators hotly dispute for a variety of reasons that they either individually or in concert are

 liable for a stay violation). The Debtor filed a chapter 13 petition on December 4, 2019. It is sufficient for

 present purposes to say that the Debtor claims that after he filed his petition he gave written and oral

 notice to the Alleged Violators, but that the Alleged Violators continued to send him emails and to make

 telephone calls to him seeking payment of a so-called payday loan that they made to him prepetition. It

 is undisputed that the amount due on the payday loan on the day of filing was less than $1,600. The




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 Debtor also claims that he was so emotionally upset by the continued collection activities that he

 suffered depression, anxiety, and suicidal ideation, resulting in catastrophic damages.

         The Alleged Violators seek dismissal under both Fed.R.Civ.P. 12(b)(1) and (6). See Fed.R.Bankr.P.

 7012(b). Under Fed.R.Civ.P. 12(b)(1), a party may seek dismissal of a claim by motion if the court lacks

 subject matter jurisdiction. Of course, it is axiomatic that a court must first determine whether it has

 subject matter jurisdiction before proceeding on the merits of a pending matter. McCulloch v. Velez, 364

 F.3d 1, 5 (1st Cir. 2004). The Alleged Violators argue that I lack subject matter jurisdiction in this dispute

 because, as a sovereign nation, they are immune from suit in this court. After careful consideration of

 the extensive briefing filed in this case, I must agree.

         The Tribe is a federally recognized Indian tribe and Indian tribes are sovereign nations with a

 “direct relationship with the federal government.” Michigan v. Bay Mills Indian Community, 572 U.S.

 782, 788 (2014) (Sotomayor, J., concurring). The Debtor concedes in the Stay Motion that Lendgreen,

 BDC, and Holdings are all arms of the Tribe. See Stay Motion, ¶3. See also Ninegret Development v.

 Narragansetts Indian Wetuomuck Housing Authority, 207 F.3d 21, 29 (1st Cir. 2000) (finding that an arm

 of a tribe enjoys the full extent of the tribe’s sovereign immunity). Thus, whatever immunity the Tribe

 has is also attributable to Lendgreen, BDC, and Holdings.

         The Bankruptcy Code contains a broad abrogation of sovereign immunity. Pursuant to Section

 106(a) of Title 11, “sovereign immunity is abrogated as to a governmental unit,” with respect to Section

 362. Section 101(27) defines “governmental unit” as follows “United States; State; Commonwealth;

 District; Territory; municipality; foreign state; department, agency, or instrumentality of the United

 States . . . , a State, a Commonwealth, a District, a Territory, a municipality, or a foreign state; or other

 foreign or domestic government.” 11 U.S.C. § 101(27) (emphasis added). SSection 101(27) does not

 specifically include federally recognized Indian tribes as a “governmental unit.” This brings me to the

 question of whether sovereign immunity is abrogated by 11 U.S.C. ¶106(a) as to Indian tribes. While this


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 appears to be a matter of first impression in this circuit, other circuit courts have grappled with this

 question and come to differing results.

         The Supreme Court has consistently held that Indian tribes are “separate sovereigns” and as

 such have “common law immunity from suit.” Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 788

 (2014) ; Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978); United States v. United States Fidelity &

 Guaranty Co., 309 U.S. 506, 512-13 (1940); Turner v. United States, 248 U.S. 354, 358 (1919. But

 Congress can abrogate that immunity “as and to the extent it wishes.” Id. at 803-04. That abrogation

 must be expressed “unequivocally” in the statute at issue. Id. at 788; see Narragansett Indian Tribe v.

 Rhode Island, 449 F.3d 16, 25 (1st Cir. 2006) (abrogation “must be clear and unequivocal”). At the center

 of the circuit split is whether an Indian tribe is an “other foreign or domestic government” whose

 sovereign immunity is “unequivocally” abrogated by section 106(a) of Title 11. See 11 U.S.C. § 101(27).

         In Buchwald Capital Advisors, LLC. v. Sault Ste. Marie Tribe of Chippewa Indians (In re Greektown

 Holdings), LLC, 917 F.3d 451 (6th Cir. 2019), the Sixth Circuit declined to conclude that section 106

 abrogates sovereign immunity as to Indian tribes. After noting that the words “Indian tribes” are not

 present in section 101(27), the Sixth Circuit observed that (a) in many other statutes Congress has used

 the words “Indian tribes” when it eliminated their sovereign immunity, id. at 456, and that (b) where

 Congress intends to abrogate immunity for tribes it must do so in a manner that “leaves no doubt.” Id.

 at 457. The court then rejected the Ninth Circuit’s conclusion in Krystal Energy Co. v. Navajo Nation, 357

 F.3d 1055 (9th Cir. 2004) that the words “domestic government” in section 101(27) are sufficiently

 similar to the words “domestic dependent nations,” which are the words often used by the Supreme

 Court to refer to Indian tribes, to meet the unequivocality requirement. Id. The Sixth Circuit relied on the

 fact that “there is not one example in all of history where the Supreme Court has found that Congress

 has intended to abrogate tribal sovereign immunity without expressly mentioning Indian tribes

 somewhere in the statute.” Id. at 460 (quoting Meyers v. Oneida Tribe of Indians Wisc., 836 F.3d 818,


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 824 (7th Cir. 2016) (declining to find tribal immunity abrogated by section 106(a)). The Sixth Circuit

 concluded that “11 U.S.C. §§ 106, 101(27) lack the requisite clarity of intent to abrogate tribal sovereign

 immunity.”

          In this case, Coughlin argues that I should follow the reasoning of the Ninth Circuit in Krystal

 Energy, which has been rejected by three other circuit courts, and find that sections 101(27) and 106

 abrogate the immunity upon which the Alleged Violators rely. See Buchwald Capital Advisors, LLC. v.

 Sault Ste. Marie Tribe of Chippewa Indians (In re: Greektown Holdings), LLC, 917 F.3d 451 (6th Cir. 2019);

 Meyers v. Oneida Tribe of Indians Wisc., 836 F.3d 818, 824 (7th Cir. 2016): In re Whitaker, 474 B.R. 687

 (8th Cir. 2012). I agree with the three circuits that have rejected the Ninth Circuit.

          Coughlin raises one other argument. He says that the words “other . . . domestic

 government[s]” must refer to Indian tribes because there are no other entities that fit that definition.

 But that argument fails for two reasons. First, if that were the case Congress could have avoided any

 ambiguity simply by using the words “Indian tribes” in section 101(27). Second, as the Alleged Violators

 point out, if the words “other . . . domestic governments” is a catch-all phrase, then all the other words

 in that section are surplusage, which of course makes no sense.

          Finally, Coughlin ignores the special place that Indian tribes occupy in our jurisprudence. Any

 consideration of the statutory waiver of tribal immunity starts with “the baseline position [that the

 Supreme Court has] often held is tribal immunity.” Michigan v. Bay Mills Indian Cmty, 572 U.S. at 790.

 Thus, “[a]mbiguities in federal law [are] construed generously in order to comport with . . . traditional

 notions of sovereignty and with the federal policy of encouraging tribal independence.” White Mountain

 Apache Tribe v. Bracker, 448 U.S. 136, 143-44 (1980). 1



 1
   I note that Coughlin also argues, for the first time in his sur-reply, that the long line of Supreme Court cases
 finding that Indian tribes are entitled to sovereign immunity subject only to precise congressional limitations
 should be overruled. That, of course, is well beyond the province of this court. State Oil Co. v. Khan, 522 U.S. 3,20
 (1997) (“. . . it is [the Supreme] Court’s prerogative alone to overrule one of its precedents.”). Moreover, Coughlin
 has not stated a basis for that relief.

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                                                   ORDER

         For the reasons stated above, the Motions to Dismiss are hereby granted, and accordingly, the

 Stay Motion will, by separate order, be dismissed for lack of subject matter jurisdiction.



 Date: October 19, 2020                           _______________________________
                                                  Frank J. Bailey
                                                  United States Bankruptcy Judge




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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


     In re:                                                :      Chapter 13
     Lyndel Toppin,                                        :
                            Debtor.                        :       Bankruptcy No. 18-13098-MDC

     Lyndel Toppin,                                        :
                            Plaintiff,                     :
               v.                                          :      Adversary No. 18-00137-MDC
     Jewell Williams, Sheriff of the City of Philadelphia :
     and Abdeldayem Hassan aka Abdeldyem Hassan, :
                            Defendants.                    :



                                             ORDER
              AND NOW, upon consideration of (i) the Summary Judgment Motion, 1 and (ii) the

 Directed Verdict Motion, each filed by the Sheriff’s Office, and for the reasons set forth in the

 accompanying Memorandum.

              IT IS HEREBY ORDERED that:

              1.    The Summary Judgment Motion is GRANTED IN PART and DENIED IN

 PART. It is GRANTED with respect to the Debtor’s request for damages for emotional distress

 and DENIED on all other grounds asserted.

              2.    The Directed Verdict Motion is GRANTED.

              3.    The Debtor’s requested relief for sanctions against the Sheriff’s Office pursuant to

 §362(k) of the Bankruptcy Code is DENIED.



 1
  Capitalized terms used herein but not defined shall have the meaning given to them in the accompanying
 Memorandum.




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 Dated: November 8, 2021
                                                 MAGDELINE D. COLEMAN
                                                 CHIEF U.S. BANKRUPTCY JUDGE

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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                                  :       Chapter 13
 Lyndel Toppin,                                          :
                           Debtor.                       :       Bankruptcy No. 18-13098-MDC

 Lyndel Toppin,                                          :
                           Plaintiff,                    :
            v.                                           :       Adversary No. 18-00137-MDC
 Jewell Williams, Sheriff of the City of Philadelphia :
 and Abdeldayem Hassan aka Abdeldyem Hassan, :
                           Defendants.                   :



                                         MEMORANDUM

 I.         INTRODUCTION

            Lyndel Toppin (the “Debtor”) filed a chapter 13 bankruptcy petition on May 8, 2018, and

 approximately one month later, on June 11, 2018, initiated this adversary proceeding (the

 “Adversary Proceeding”) by filing a Complaint 1 against Jewell Williams, in his capacity as

 Sheriff of the City of Philadelphia (the “Sheriff’s Office,” and together with the Debtor, the

 “Parties”).     The Complaint alleges that the Sheriff’s Office violated the automatic stay imposed

 by §362 of the Bankruptcy Code, 11 U.S.C. §§101, et seq., by taking certain post-petition actions

 to enforce a writ of possession obtained by Abdeldayem Hassan (“Mr. Hassan”) with respect to

 the Debtor’s home, which Mr. Hassan acquired at a tax foreclosure sale. 2        The Court held a trial


 1
      Adv. Pro. Docket No. 1.
 2
   The Debtor subsequently filed an Amended Complaint that added Mr. Hassan as a named defendant,
 see Adv. Pro. Docket No. 3, but later moved to dismiss all claims against Mr. Hassan, see Adv. Pro.
 Docket No. 142. That motion was granted on the record at the trial in this matter on August 21, 2020.
 See N.T. 33:7 to 33:12.




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 (“Trial”) on August 21, 2020. Pending before the Court for decision are (i) the motion for

 summary judgment (the “Summary Judgment Motion”) 3 filed by the Sheriff’s Office, (ii) the

 motion for a directed verdict (the “Directed Verdict Motion”) 4 filed by the Sheriff’s Office, and

 (iii) the Debtor’s request for relief under §362(k) of the Bankruptcy Code.         For the reasons

 discussed herein, the Court will (i) grant the Summary Judgment Motion in part and deny it in

 part, (ii) grant the Directed Verdict Motion, and (iii) deny the Debtor’s request for damages

 under §362(k).

 II.      RELEVANT FACTUAL BACKGROUND 5

          The Debtor resides at 146 S. 62nd Street in Philadelphia (the “Property”).        The Debtor is

 both deaf and mute, and lives at the Property with his nephew, Barrington Whyte (“Mr. Whyte”).

 On October 5, 2017, the Property was sold at a sheriff’s sale for delinquent taxes. 6         Mr. Hassan

 was the winning bidder at the sheriff’s sale.      In January 2018, Mr. Hassan filed a complaint in

 ejectment in the Court of Common Pleas of Philadelphia (the “CCP Court”) against “unknown

 occupants” of the Property. Mr. Hassan then obtained a judgment by default against “unknown

 occupants,” entered on April 5, 2018, for possession of the Property. On May 7, 2018, Mr.

 Hassan procured a writ of possession from the CCP Court against “unknown occupants” of the



 3
     Adv. Pro. Docket No. 71.
 4
     Adv. Pro. Docket No. 157.
 5
   The factual background described herein is taken from the admitted allegations of the Second Amended
 Complaint, see Adv. Pro Docket No. 29, the admitted factual allegations set forth in the memorandum of
 law the Sheriff’s Office submitted in support of the Summary Judgment Motion (the “Summary Judgment
 Supporting Brief”), see Adv. Pro. Docket No. 72, the stipulated facts read into the record at Trial, and the
 evidence adduced at Trial.
 6
   The tax collection proceeding was filed against Stanley Zalkin and Eleanor Zalkin as the record owners
 of the Property.
                                                      2




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 Property. The following day, on May 8, 2018, the Debtor filed his chapter 13 bankruptcy

 petition (the “Petition”).

           The Real Estate Unit of the Sheriff’s Office received notice of the Petition on May 8,

 2018. 7    On May 10, 2018, Jetaria Taylor (“Officer Taylor”), then an officer with the Civil

 Enforcement Unit of the Sheriff’s Office, went to the Property to serve a Notice to Vacate,

 giving the occupants of the Property 21 days to vacate the Property before an eviction notice

 would be issued. After knocking on the door of the Property and receiving no response, Officer

 Taylor taped the Notice to Vacate on the front door and left another copy either in the mail slot

 or inside the front door.    Another copy of the Notice to Vacate was mailed to the Property.

           Officer Taylor returned to the Property on June 1, 2018, to serve an Eviction Notice

 ordering the occupants of the Property to vacate it by June 25, 2018. After knocking on the

 door of the Property and receiving no response, Officer Taylor again taped the Eviction Notice

 on the front door and left another copy either in the mail slot or inside the front door. Another

 copy of the Eviction Notice was mailed to the Property.

           On June 7, 2018, the Civil Enforcement Unit of the Sheriff’s Office received a fax from

 the Debtor’s counsel attaching a Notice of Bankruptcy with respect to the Debtor’s case.

 Thereafter, the Civil Enforcement Unit ceased all efforts to enforce the CCP Court’s writ of

 possession.



 7
   At the Trial, a fax cover sheet from the Debtor’s counsel, attaching notice of the Petition (the “Notice of
 Bankruptcy”), was admitted into evidence. That cover sheet reflects that the Notice of Bankruptcy was
 sent to the fax number for the Real Estate Unit. Both the fax cover sheet and the Notice of Bankruptcy
 note the Debtor’s name as well as the address of the Property. A fax attaching the Notice of Bankruptcy
 was also transmitted to a fax number for the Civil Enforcement Unit of the Sheriff’s Office on May 8,
 2018, although the Court was not provided with documentary evidence or testimony confirming that it
 was in fact received.
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 III.          RELEVANT PROCEDURAL BACKGROUND

          A.      The Second Amended Complaint

          As noted supra, on June 11, 2018, the Debtor filed the Complaint against the Sheriff’s

 Office, alleging that the post-petition service of the Notice to Vacate and Eviction Notice

 violated the automatic stay imposed by §362 of the Bankruptcy Code. 8      The Debtor sought

 actual damages, attorneys’ fees and expenses, emotional distress damages, and punitive

 damages. On November 21, 2018, the Sheriff’s Office answered the Second Amended

 Complaint. 9

          B.      The Summary Judgment Motion

          On December 26, 2019, the Sheriff’s Office filed the Summary Judgment Motion. The

 Sheriff’s Office argues that summary judgment in its favor is appropriate because: (i) the

 Sheriff’s Office is entitled to quasi-judicial immunity for conduct in execution of an order of

 court (the “Quasi-Judicial Immunity Argument”); and (ii) executing the writ of possession issued

 by the CCP Court was a ministerial act that is not subject to the Bankruptcy Code’s automatic

 stay (the “Ministerial Act Argument”). The Sheriff’s Office further argues that to the extent the

 Court denies summary judgment on both of these grounds, partial summary judgment is

 warranted with respect to damages because (i) emotional distress damages cannot be awarded

 against the Sheriff’s Office pursuant to §106(a)(3) of the Bankruptcy Code and the Pennsylvania

 Political Subdivision Tort Claims Act, 42 Pa. C. S. A. §8541, et seq. (the “Tort Claims Act”), nor

 do the alleged acts by the Sheriff’s Office warrant emotional distress damages (the “Emotional


 8
  The Complaint has been amended twice, see Adv. Pro. Docket Nos. 3, 29. As such, the Second
 Amended Complaint is the operative pleading.
 9
     Adv. Pro. Docket No. 37.
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 Distress Damages Argument”), and (ii) punitive damages are not available against the Sheriff’s

 Office pursuant to §106(a)(3) of the Bankruptcy Code.

           On February 5, 2020, the Debtor filed a response to the Summary Judgment Motion (the

 “Summary Judgment Response”), 10 arguing that (i) the actions by the Sheriff’s Office are

 subject to the automatic stay; (ii) the Sheriff’s Office does not enjoy sovereign immunity with

 respect to acts that are in violation of the automatic stay; (iii) the actions by the Sheriff’s Office

 caused compensable emotional distress damages to the Debtor; and (iv) summary judgment

 should be denied with respect to whether punitive damages are warranted because genuine issues

 of material fact exist. On February 14, 2020, the Sheriff’s Office filed a reply (the “Summary

 Judgment Reply Brief”) to the Debtor’s Summary Judgment Response, 11 responding that (i) the

 Debtor seeks to hold the Sheriff’s Office accountable for Mr. Hassan’s failure to notify it of the

 Petition in order to halt any enforcement actions; (ii) the Sheriff’s Office’s arguments related to

 quasi-judicial immunity and the ministerial acts exception are not grounded in sovereign

 immunity; (iii) the Tort Claims Act precludes the recovery of emotional distress damages against

 a governmental unit; and (iv) the plain language of §106(a)(3) provides that a court cannot award

 punitive damages against a governmental unit.

           On February 18, 2020, the Court held a hearing on the Summary Judgment Motion (the

 “Summary Judgment Hearing”). At the Summary Judgment Hearing, the Debtor withdrew his

 request for punitive damages, 12 and therefore on February 20, 2020, the Court entered an



 10
      Adv. Pro. Docket No. 105.
 11
      Adv. Pro. Docket No. 112.
 12
      Summary Judgment Hearing Audio Recording, at 3:22 p.m. (ET).
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 Order 13 granting the Summary Judgment Motion in part, finding that the Debtor is not entitled

 to recover punitive damages.     The Court held the rest of the issues raised by the Summary

 Judgment Motion in suspension, pending the receipt of supplemental briefing (each, a

 “Supplemental Brief”) from the Parties on the issue of whether, by ratifying the United States

 Constitution and the Bankruptcy Clause contained therein, the States agreed to waive their

 sovereign immunity with respect to claims for violation of the automatic stay for enforcement of

 a writ of possession (the “Sovereign Immunity Issue”). On April 6, 2020, the Sheriff’s Office

 submitted a Supplemental Brief arguing that, in enforcing the CCP Court’s writ of possession, it

 was acting as an arm of the Pennsylvania judiciary, and therefore is entitled to the protection of

 sovereign immunity. The Sheriff’s Office argues that it was not acting as a creditor nor on

 behalf of a government creditor, and therefore an action asserting violation of the automatic stay

 does not effectuate this Court’s in rem jurisdiction as required to find a waiver of sovereign

 immunity under Central Va. Community College v. Katz, 546 U.S. 356, 126 S. Ct. 990, 163 L.

 Ed. 2d 945 (2006). The Debtor, by contrast, argues that a proceeding to enforce the automatic

 stay is an exercise of the bankruptcy court’s in rem jurisdiction, and therefore sovereign

 immunity with respect to such a proceeding has been waived under Katz.

           C.     The Trial

           On August 21, 2020, the Court held the Trial in this Adversary Proceeding.   At the

 outset of the Trial the Court advised the Parties that it would hold the Summary Judgment

 Motion in abeyance and would proceed with Trial, but in resolving the dispute would still rule on

 the Summary Judgment Motion first as a threshold matter.


 13
      Adv. Pro. Docket No. 115.
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        The Debtor called three witnesses for its case in chief: (i) Mr. Whyte, (ii) Captain Sean

 Thorton (“Captain Thornton”), a captain in the Civil Enforcement Unit, and (iii) Officer Taylor.

 During the course of the testimony, the Debtor also submitted certain documents into evidence.

        Mr. Whyte testified that he found three copies each of the Notice to Vacate and the

 Eviction Notice in the residence at the Property and testified to the various dates in May and

 June 2018 that each were received. On direct examination Mr. Whyte testified that the Debtor

 brought each of the notices received into the house at the Property, but on cross-examination

 admitted that the first Notice to Vacate was posted on the door and Mr. Whyte took it into the

 house. Mr. Whyte also testified regarding his observations as to the effect that receiving these

 notices had on the Debtor’s behavior, including reduced appetite, activity, and sleep.    On cross-

 examination, however, Mr. Whyte admitted that the Debtor did not understand exactly what the

 notices were.

        Captain Thornton testified that he is the commander of the Civil Enforcement Unit and

 detailed the other units of the Sheriff’s Office. Captain Thornton testified that, per internal

 Sheriff’s Office policy, when a notice of bankruptcy filing is received by the Sheriff’s Office, all

 enforcement action of any type is to cease. Captain Thornton testified that a notice of the

 Debtor’s bankruptcy was transmitted to a fax number for the Real Estate Unit of the Sheriff’s

 Office on May 8, 2018.     Captain Thornton provided some limited testimony about a document

 titled Return of Service from the Real Estate Unit that included a reference on May 9, 2018, to

 the Debtor’s bankruptcy.    That document was not admitted into evidence, however.        Captain

 Thornton also testified that Officer Taylor went to the Property two times and described the

 Sheriff’s Office’s process for serving notices to vacate and eviction notices at a property.


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 According to Captain Thornton, if the Civil Enforcement Unit can hand deliver a notice to the

 occupants of a property, that is done.      If no occupants are present to allow hand delivery of the

 notice, the Civil Enforcement Unit will post a notice on the door of the property and leave

 another notice in the mail slot, with a third to follow by mail.       Captain Thornton testified that he

 had no reason to believe that Officer Taylor did not follow this procedure.

         Officer Taylor also testified regarding the Civil Enforcement Unit’s procedure for serving

 notices to vacate and eviction notices, consistent with Captain Thornton’s testimony. Officer

 Taylor testified that she was in plain clothes and drove her own vehicle when in the field but was

 armed with a handgun.       Officer Taylor testified that she would have posted the Notice to Vacate

 to the door of the Property and left one in the mailbox or inside the door, with the third sent via

 mail. Officer Taylor further testified that after visiting the Property on May 10, 2018, she

 entered notes in the Sheriff’s Office’s internal “Jewel System” reflecting that she served the

 Notice to Vacate on that date. Officer Taylor also testified that she returned to the Property on

 June 1, 2018, to serve the Eviction Notice, consistent with the process described for serving the

 Notice to Vacate.

         At the close of the Debtor’s case-in-chief, the Sheriff’s Office advised the Court that,

 rather than calling any rebuttal witnesses, it would be moving for a directed verdict. 14 The Court

 therefore directed the Sheriff’s Office to file an appropriate motion after obtaining a transcript of

 the Trial.




 14
   At Trial the Sheriff’s Office cited F.R.B.P. 7041(b) as the basis for it moving for a directed verdict.
 N.T. 253:2 to 253:19. The Directed Verdict Motion, however, correctly cites to F.R.B.P. 7052.
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           D.      The Directed Verdict Motion

           On October 8, 2020, the Sheriff’s Office filed the Directed Verdict Motion and a brief in

 support (the “Directed Verdict Supporting Brief”), without waiving its arguments in support of

 summary judgment. 15        The Sheriff’s Office makes two arguments in support of a directed

 verdict in its favor.   First, the Sheriff’s Office argues that the Debtor’s case against it is

 “fundamentally flawed” because (i) the evidence at Trial established that the Sheriff’s Office was

 not acting as a creditor or the agent of a creditor, but instead was acting as an arm of the CCP

 Court in enforcing a facially valid writ of possession, and there was no evidence that

 enforcement was beyond the scope of the mandate contained therein; and (ii) the Debtor

 presented no evidence that Mr. Hassan was given notice of the Petition or that Mr. Hassan took

 any action to stop enforcement of the writ of possession, despite the burden being on the creditor

 to notify third-parties that the automatic stay is in place and efforts in furtherance of execution or

 enforcement must cease.       Second, the Sheriff’s Office argues that the Debtor has not proven a

 willful violation of the automatic stay. The Sheriff’s Office argues that the Debtor failed to

 even establish when notice of the Petition was provided to the Sheriff’s Office. The Sheriff’s

 Office acknowledges the evidence produced at Trial establishes that the Real Estate Unit

 received notice on May 8, 2018, and that the Civil Enforcement Unit received notice on June 7,

 2018. The Sheriff’s Office argues, however, that notice to one unit of the Sheriff’s Office does

 not serve to effectuate notice to all other units. The Sheriff’s Office further argues that even if

 the Court were to find that notice was provided on May 8, 2018, the Debtor did not establish any

 actual damages from any stay violation that may have occurred after that date. Rather, the


 15
      Adv. Pro. Docket Nos. 157, 158.
                                                     9




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 Sheriff’s Office argues, Mr. Whyte’s testimony at Trial on the Debtor’s alleged damages was

 unconvincing and unreliable because it lacked sufficient context, detail, and temporal perspective

 to establish a causal link to the Sheriff’s actions.

           On October 29, 2020, the Debtor filed a response in opposition to the Directed Verdict

 Motion (the “Directed Verdict Opposition Brief”). 16     The Debtor argues that various exhibits

 admitted into evidence at the Trial, as well as certain testimony, establish that the Sheriff’s

 Office received adequate notice of the Petition on May 8, 2018, and the Sheriff’s Office’s own

 internal policy mandated that enforcement of the writ terminate upon receiving such notice.

 The Debtor further argues that the Sheriff’s Office’s willful violation of the automatic stay was

 established by the evidence at Trial that Officer Taylor served the Notices to Vacate, and the

 Eviction Notices after the Sheriff’s Office had notice of the Petition. Finally, the Debtor argues

 that Mr. Whyte’s testimony as to the effect of those notices on the Debtor sufficiently established

 actual damages.

           On November 10, 2020, the Court held a hearing on the Directed Verdict Motion, after

 which it took the matter under advisement.

 IV.       DISCUSSION

           A.     Motion for Summary Judgment

                  1.      Standard for Summary Judgment

           The standard for evaluating a motion for summary judgment is well-established:

                  Summary judgment is appropriate only when, drawing all reasonable
                  inferences in favor of the nonmoving party, there is no genuine issue as to
                  any material fact and the moving party is entitled to judgment as a matter
                  of law. E.g., Tri-M Group, LLC v. Sharp, 638 F.3d 406, 415 (3d Cir.

 16
      Adv. Pro. Docket No. 161.
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                2011); In re Bath, 442 B.R. 377, 387 (Bankr. E.D. Pa. 2010). In other
                words, summary judgment may be entered if there are no disputed issues
                of material fact and the undisputed facts would require a directed verdict
                in favor of the movant. See Fitzpatrick v. City of Atlanta, 2 F.3d 1112,
                1115 (11th Cir. 1993).

                In evaluating a motion for summary judgment, the court’s role is not to
                weigh the evidence, but to determine whether there is a disputed, material
                fact for resolution at trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
                249, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A genuine issue of material
                fact is one in which sufficient evidence exists that would permit a
                reasonable fact finder to return a verdict for the non-moving party. Id. at
                248. In evaluating the record, the court must view the underlying facts and
                make all reasonable inferences therefrom in the light most favorable to the
                party opposing the motion. Montone v. City of Jersey City, 709 F.3d 181,
                189 (3d Cir. 2013); United States v. 717 South Woodward St., 2 F.3d 529,
                533 (3d Cir. 1993). On the other hand, if it appears that the evidence “is so
                one-sided that one party must prevail as a matter of law,” the court should
                enter judgment in that party's favor. Anderson, 477 U.S. at 252.

 Fraction v. Jacklily, LLC (In re Fraction), 622 B.R. 642, 646-647 (Bankr. E.D. Pa. 2020).

        When the non-moving party bears the burden at trial and the movant meets its burden of

 directing the court to items demonstrating the absence of a genuine issue of fact, the non-moving

 party must produce evidence sufficient to create a genuine issue. Davenport v. Medtronic, Inc.,

 302 F. Supp. 2d 419, 435 (E.D. Pa. 2004). A plaintiff cannot simply rest on the allegations in its

 pleadings, but rather must present evidence from which a fact-finder could find in its favor.

 Sheridan v. NGK Metals Corp., 609 F.3d 239, 251 n.2 (3d Cir. 2010). That is, to survive

 summary judgment, the nonmovant must “do more than simply show there is some metaphysical

 doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).

        As noted supra, the Court has already granted the Sheriff’s Office partial summary

 judgment with respect to the issue of punitive damages upon the Debtor withdrawing his

 requested relief on that issue, leaving the three remaining purported grounds for summary
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 judgment to be resolved: (i) the Quasi-Judicial Immunity Argument; (ii) the Ministerial Act

 Argument; and (iii) the Emotional Distress Damages Argument.

                2.         The Sheriff’s Office is Not Entitled to Quasi-Judicial Immunity

        The Sheriff’s Office argues that it cannot be held liable for violation of the stay because it

 is entitled to quasi-judicial immunity, which it asserts extends absolute immunity to persons

 executing valid court orders from civil actions for damages challenging conduct authorized by

 the order. Summary Judgment Supporting Brief, at 7 (citing Coverdell v. The Department of

 Social and Health Services, State of Washington, 834 F.2d 758, 764-765 (9th Cir. 1987) and

 Gallas v. Supreme Court of Pennsylvania, 211 F.3d 760, 772-73 (3d Cir. 2000)).

        The Sheriff’s Office points to its purported lack of discretion in enforcing the CCP

 Court’s writ of possession: “The application of quasi-judicial immunity to any public official

 acting pursuant to court directive is based on a well-grounded principle that those who are

 required to follow the instructions of a court have no discretion but to obey the order and

 mandate of the court. Thus, the Sheriff, in executing the writ against unknown occupants at the

 Property, was performing a ministerial function, without discretion, at the direction of the judge

 and is entitled to immunity.”     Summary Judgment Supporting Brief, at 7-8. The Sheriff’s

 Office asserts that its actions in serving the Notice to Vacate, and Eviction Notice were

 enforcement actions within the scope of the writ of possession, and there is no allegation that the

 Sheriff’s Office took enforcement action beyond the scope of the writ.

        The Sheriff’s Office is correct that the doctrine of quasi-judicial immunity applies where

 the function performed serves the judicial process but the individual performing it lacks

 discretion in doing so.     Absolute quasi-judicial immunity is distinct from absolute judicial


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 immunity in that it does not derive from the discretionary nature of an official’s actions; rather, it

 derives from the official’s lack of discretion.   Latour v. McCullar, 2016 U.S. Dist. LEXIS

 96961, at *36 (W.D. Pa. July 26, 2016) (quoting Coopshaw v. Figurski, 2008 U.S. Dist. LEXIS

 8530, at *10-11 (E.D. Mich. Feb. 6, 2008)). As such, quasi-judicial immunity “applies only

 where officials perform a ministerial task at the specific direction of a judge.” Rucinski v. U.S.,

 1995 U.S. Dist. LEXIS 2700, at *8 (N.D. Ill. Mar. 2, 1995) (citing cases).      It extends only to

 suits challenging conduct prescribed by the court order, and officials are not immune from the

 manner in which they carry out otherwise proper court orders. Id. at n.2.

           The Court, however, is not convinced that the Sheriff’s Office lacked all discretion in

 enforcing the writ of possession. Rather, the Sheriff’s Office acknowledges 17 that it ceased all

 enforcement action upon the Civil Enforcement Unit’s receipt of notice of the Petition on June 7,

 2018, evidencing that it was not without discretion to cease enforcement actions in the event of a

 bankruptcy filing.     In fact, the Sheriff’s Office’s own internal policy mandates that upon

 receiving notice of a bankruptcy, “all legal action is to stop.”18   This policy embodies the

 discretion that the Sheriff’s Office had and exercised in ceasing enforcement upon the Civil

 Enforcement Unit receiving notice of the Petition.      The writ did not direct the Sheriff’s Office

 to cease enforcement upon receiving notice of a bankruptcy; the Sheriff’s Office made that

 determination, consistent with its own policy and as required by the Bankruptcy Code. This

 independent exercise of discretion, rooted in deference to the automatic stay imposed upon the

 filing of a bankruptcy petition, is inconsistent with the picture the Sheriff’s Office attempts to



 17
      See Summary Judgment Supporting Brief, at ¶¶23 to 25.
 18
      Exhibit C-26.
                                                    13




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 paint of a judicial officer mechanically enforcing the terms of a facially valid court order. 19

 The Sheriff’s Office exercised its discretion to cease enforcement, without the CCP Court first

 authorizing or directing it to do so.    The Sheriff’s Office is therefore not entitled to the

 protection of quasi-judicial immunity.

                 3.       Enforcement of the Writ Was Not a Ministerial Act

         The Sheriff’s Office argues that its post-petition actions to enforce the CCP Court’s writ

 of possession were merely ministerial and not subject to the automatic stay.           The Sheriff’s

 Office asserts that an act is ministerial where the law compels it and argues that its post-petition

 acts to enforce the CCP Court’s writ of possession was mandated by Pennsylvania statutory law

 and a number of provisions of the Pennsylvania Rules of Civil Procedure using the term “shall”

 to dictate what action is required at particular stages of the ejectment and possession process.

         The Sheriff’s Office points to 42 Pa. C. S. A. §2921, titled “Powers and duties of the

 sheriff,” providing that “The sheriff, either personally or by deputy, shall serve process and

 execute orders directed to him pursuant to law.”          While the Sheriff’s Office appears to advance

 the view that this as an unqualified directive to serve process and execute orders directed to it,

 the very language of the statute itself belies this position. It requires that the Sheriff’s Office do



 19
    The Debtor’s claim against the Sheriff’s Office for violation of the bankruptcy stay is not about how
 the writ of possession was enforced, but rather that it was enforced after the Petition was filed. The cases
 the Sheriff’s Office cites in its Summary Judgment Supporting Brief finding sheriffs protected by quasi-
 judicial immunity are distinguishable from the issue presented in this case. See Summary Judgment
 Supporting Brief, at 8-9. Those cases found the doctrine applicable because the sheriffs or sheriff’s
 deputies in those cases were acting in accordance with a facially valid court order. There is no argument
 that the CCP Court’s writ of possession was not facially valid. However, the difference here is that after
 the Debtor’s bankruptcy was filed, enforcement of that writ, notwithstanding its facial validity, required
 relief from the automatic stay. Absent such relief, it could not be enforced. Therefore, this is not simply
 a case of the Sheriff’s Office enforcing a facially valid court order according to its terms; the crux of the
 issue is whether enforcement at all violated the stay.
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 so “pursuant to law.”     Whatever the law may be in other contexts, in the context of this case, the

 Sheriff’s Office was required to act in accordance with the limitations imposed on all parties by

 the Bankruptcy Code’s automatic stay. As such, the provision of Pennsylvania statutory law

 relied upon does not strip all discretion from the Sheriff’s Office in executing a writ of

 possession, and does not make doing so a mere ministerial act.

         Furthermore, the mandates in the Pennsylvania Rules of Civil Procedure cited by the

 Sheriff’s Office are not the actions that are at issue here.     Those mandates dictate the process

 generally for ejectment and possession, providing procedural steps that are necessary in order to

 execute possession once a judgment is obtained. See Summary Judgment Supporting Brief, at

 12 (citing Pa. R.C.P. Nos. 3103, 3105, 3160, and 3161).          The Sheriff’s Office has cited to these

 various rules to argue that they leave the Sheriff’s Office with no discretion in fulfilling its

 obligations with respect to enforcing the writ of possession. None of the rules cited, however,

 mandate that the Sheriff’s Office “shall” enforce a writ of possession post-petition

 notwithstanding the imposition of the automatic stay or a similar prohibition to act. 20         That is

 the issue to be decided here. As discussed supra, the Sheriff’s Office’s acknowledgement that

 enforcement action ceased upon the Civil Enforcement Unit receiving notice of the Petition

 evidences that it did believe the automatic stay trumped any statutory or rule-based duties it

 otherwise had to enforce the writ of possession.         The discretion the Sheriff’s Office exercised at

 that point undermines its argument that the post-petition actions it took were mere ministerial

 acts not subject to the automatic stay.


 20
   In fact, to the extent the Pennsylvania Rules of Civil Procedure did so provide, it would be in direct
 conflict with the Pennsylvania statutory provision cited above requiring that sheriffs execute orders
 pursuant to law.
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        The Sheriff’s Office relies heavily on In re Williams, 371 B.R. 102 (Bankr. E.D. Pa.

 2007). There, the bankruptcy court found that a landlord’s post-petition request for an Order of

 Possession from a state court, based on a prepetition judgment granting it possession of the

 debtors’ leased real property, did not violate the automatic stay.    Id. at 111. In the Williams

 court’s view, the procedural rules relating to the Pennsylvania Landlord Tenant Act required that

 such action be taken and divested the state court from discretion in issuing the Order of

 Possession: “The rules for enforcing that judgment require that the landlord first file a request for

 an Order of Possession. Upon such a request, ‘the magisterial judge shall issue the order for

 possession and shall deliver it for service and execution to the sheriff … The order shall direct

 the officer executing to deliver actual possession of the real property to the plaintiff.’   In using

 the word ‘shall’ the Rule makes the issuance of the Order for possession mandatory, making the

 issuance and execution of the order a ministerial act rather than judicial function requiring the

 exercise of discretion.’”     Id. at 111 (emphasis in original). This logic underpins the Sheriff’s

 Office’s argument that enforcement of the CCP Court’s writ of possession was similarly

 ministerial.   This Court, however, respectfully disagrees with the Williams decision’s reasoning.

 Although the use of the term “shall” may denote lack of discretion in most other contexts, the

 overlay of the Bankruptcy Code’s automatic stay, which brings all enforcement and collection

 efforts to at least a temporary halt, changes what is or is not compelled, and therefore what may

 be “ministerial” in nature.     The Williams decision used the entry of a judgment on the docket by

 a prothonotary as an example of a function that case law has long held is a ministerial task.

 This Court views that type of post-petition action as far different in nature from service of the

 Notice to Vacate and Eviction Notice at issue here, and the Sheriff’s Office’s cessation of


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 enforcement efforts after June 7, 2018, suggests that it did not view those acts as ministerial at

 the time either.    The Court therefore diverges from the Williams court’s holding with respect to

 what constitutes a ministerial act and finds that the Sheriff’s Office’s post-petition actions in

 enforcing the CCP Court’s wit of possession do not qualify as such.

                4.       The Sheriff’s Office is Entitled to Partial Summary Judgment with
                         Respect to Liability for Emotional Distress Damages

        The Sheriff’s Office argues that partial summary judgment is warranted with respect to

 the Debtor’s request for the award of emotional distress damages because the Debtor is not

 entitled to them. The Sheriff’s Office first asserts that the Debtor is not entitled to them as a

 matter of law because sovereign immunity insulates the Sheriff’s Office from liability for

 emotional distress damages.     The Sheriff’s Office also argues that the Debtor is not entitled to

 emotional distress damages as a factual matter because the Debtor did not produce any medical

 evidence to corroborate or establish a causal connection between the Sheriff’s Office’s actions

 and the Debtor’s alleged emotional distress.

                         a.      Sovereign Immunity Has Been Waived with Respect to Actual
                                 Damages, Including Emotional Distress Damages

        The Sheriff’s Office’s argument that emotional distress damages are not permitted as a

 matter of law is grounded on its position that (a) the term “money recovery” used in §106(a)(3)

 of the Bankruptcy Code does not include emotional distress damages, such that sovereign

 immunity is not waived under the Bankruptcy Code with respect to them, and (b) because

 sovereign immunity is not waived under the Bankruptcy Code, the Court must look to the Tort

 Claims Act, which the Sheriff’s Office asserts provides it with immunity from liability.

        Before addressing the first prong of this legal argument, the Court pauses to address the

 Sheriff’s Office’s position in its Supplemental Brief that the Eleventh Amendment’s sovereign
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 immunity provision protects it as a general matter from liability in this proceeding. The

 Supreme Court’s decision in Central Va. Community College v. Katz, 546 U.S. 356, 126 S. Ct.

 990, 163 L. Ed. 2d 945 (2006) governs whether sovereign immunity has been waived by the

 states, as the Sheriff’s Office correctly acknowledges in its Supplemental Brief on the Sovereign

 Immunity Issue. Id. at 5. Katz held that in ratifying the United States Constitution, the states

 waived sovereign immunity for proceedings brought pursuant to “Laws on the subject of

 Bankruptcies,” including proceedings necessary to effectuate the in rem jurisdiction of the

 bankruptcy courts. 546 U.S. at 377-378. A bankruptcy court’s in rem jurisdiction therefore

 extends to states, and a proceeding to enforce the automatic stay “constitutes a ‘critical feature’

 in the exercise of in rem bankruptcy jurisdiction in that it facilitates the exercise of the court’s

 exclusive jurisdiction over the debtor’s property.”    Odom v. Phila. Parking Auth. (In re Odom),

 574 B.R. 687, 695 (Bankr. E.D. Pa. 2017); see also Potter v. Newkirk, 2020 U.S. Dist. LEXIS

 194033, at *27 (D.N.J. Oct. 20, 2020) (a claim against a sheriff’s office for violation of the

 automatic stay was not barred by sovereign immunity because it was at least ancillary to the

 bankruptcy court’s in rem jurisdiction); In re Schroeder, 2009 Bankr. LEXIS 3498, at * (Bankr.

 D. Neb. Oct. 23, 2009) (under Katz, a Nebraska state agency’s stay violation “plainly falls within

 this court’s authority to administer the bankruptcy res”).

         The Sheriff’s Office attempts, however, to side-step the court’s in rem jurisdiction by

 arguing that because it was not acting as a creditor itself or on behalf of a state creditor, there is

 no in rem jurisdiction over the claims against the Sheriff’s Office. Supplemental Brief, at 6-7.

 The Sheriff’s Office cites no law so holding, and taken to its logical conclusion, this argument

 would hold that any non-creditor party can take action that violates the automatic stay and


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 impedes this Court’s exclusive jurisdiction over the property of the bankruptcy estate, without

 being subject to the Court’s authority to enforce the stay. The Court rejects the Sheriff’s

 Office’s position, and agrees with Odom’s reasoning that, under Katz, states waived their

 sovereign immunity with respect to proceedings asserting a violation of the automatic stay.

 This waiver does not hinge on the state actor having a claim against the bankruptcy estate or

 acting on behalf of a party that does.

        Having found that the Sheriff’s Office is not insulated as a general matter from liability

 by Eleventh Amendment sovereign immunity for a stay violation, the Court turns back to the

 Sheriff’s Office’s argument that, although §106(a)(3) permits “money recovery” from state

 actors, it does not contemplate emotional distress damages.    In Sacred Heart Hosp. v. Dept. of

 Pub. Welfare (In re Sacred Heart Hosp.), 133 F.3d 237 (3d Cir. 1998), the Third Circuit found

 §106(a) unconstitutional to the extent it purports to abrogate state sovereign immunity in federal

 court. Id. at 245. Section 106(a)(3) purports to abrogate state sovereign immunity as to

 damages, by providing that a bankruptcy court can award a money recovery against the states.

 Sacred Heart remains binding in this circuit, see In re La Poloma Generating, Co., 588 B.R.

 695, 727 (Bankr. D. Del. 2018), and therefore the Court finds §106(a)(3) is unconstitutional

 under Sacred Heart. Whether the states are liable for damages for violation of the automatic

 stay is determined by reference to the considerations articulated in Katz. In Newkirk, the court

 squarely addressed this issue in determining whether a county prosecutor’s office and sheriff’s

 office could be held liable for damages for violation of the automatic stay, or were instead

 insulated by Eleventh Amendment immunity:

                Like the action to recover money [from] alleged preferential transfers in
                Katz, Plaintiff’s action for violation of the automatic stay is a proceeding

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                 ancillary to the discharge of a debtor’s debt … The automatic stay is a
                 supplement to the Bankruptcy Court’s exercise of in rem jurisdiction
                 because it preserves ‘the status quo between the debtor and [his] creditors,
                 thereby affording the parties and the Court an opportunity to appropriately
                 resolve competing economic interests in an orderly and effective way.
                 Put differently, a violation of the automatic stay directly interferes with the
                 exercise of exclusive jurisdiction over all of the debtor’s property and the
                 equitable distribution of that property among the debtor’s creditors.
                 Thus, while claims for damages based on violation of the automatic stay
                 resemble traditional money damage lawsuits in form, their function is to
                 facilitate the in rem proceedings which form the foundation of bankruptcy.
                 As such, the doctrine of sovereign immunity does not apply with respect
                 to the claim for violation of the automatic stay.

 Id., 2020 U.S. Dist. LEXIS 194033, at *27-*28. This Court agrees with the Newkirk court’s

 analysis, and finds that state sovereign immunity has been waived with respect to the recovery of

 actual damages for violation of the automatic stay. 21

         The question then becomes whether that waiver includes the recovery of emotional

 distress damages. The Sheriff’s Office makes the argument in its Summary Judgment

 Supporting Brief that §106(a)(3)’s use of the term “money recovery” does not include emotional

 distress damages either because that was not what Congress intended in abrogating state

 sovereign immunity or because the term is ambiguous and therefore must be interpreted

 narrowly and consistent with state sovereign immunity. This argument misses the mark,

 however, given the Court’s finding that §106(a)(3) does not govern whether sovereign immunity

 has been waived. The scope of the term “money recovery” used therein is therefore irrelevant.

 Instead, the Court looks to §362(k) of the Bankruptcy Code, which provides in relevant part, that


 21
    The argument also exists that under Katz, Congress has the power to bind states to uniform federal
 judicial bankruptcy process. Davis v. California (In re Venoco LLC), 998 F.3d 94, 103 n.8 (3d Cir.
 2021) (quoting Ralph Brubaker, Explaining Katz’s New Bankruptcy Exception to State Sovereign
 Immunity: The Bankruptcy Power as a Federal Forum Power, 15 Am. Bank. Inst. L. Rev. 95, 129
 (2007)). Section 362(k), discussed infra, represents a uniform bankruptcy process for the imposition of
 sanctions for parties violating the automatic stay.
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 “an individual injured by any willful violation of a stay provided by this section shall recover

 actual damages, including costs and attorneys’ fees, and, in appropriate circumstances, may

 recover punitive damages.” 11 U.S.C. §363(k). 22

        In Lansaw v. Zokaites (In re Lansaw), 853 F.3d 657 (3d Cir. 2017), the Third Circuit

 joined “a growing number of circuits” in holding that Congress intended the automatic stay to

 protect both financial and non-financial interests, and that the term “actual damages” as used in

 §362(k) includes damages for emotional distress resulting from a willful violation of the

 automatic stay. Id. at 667 (citing cases). Lansaw therefore answers the question; in the Third

 Circuit, actual damages that may potentially be recovered include emotional distress damages.

 Relying on a footnote in Lansaw, however, the Sheriff’s Office argues that the Third Circuit’s

 general holding should not apply to it. In arriving at its holding, the Third Circuit distinguished

 FAA v. Cooper, 566 U.S. 284, 132 S. Ct. 1441, 182 L. Ed. 2d 497 (2012), where the Supreme

 Court held that the term “actual damages” as used in the Privacy Act did not authorize emotional

 distress damages from the federal government. Id. at 667 n.8. The Third Circuit reasoned that,

 in Cooper, the Supreme Court looked to the legislative history of the Privacy Act indicating that

 Congress could have, but chose not to, clearly authorize the recovery of emotional distress

 damages. Id. The Third Circuit was “unaware of any legislative history indicating that

 Congress refused to authorize emotional-distress damages for stay violations. If anything, the

 legislative history is to the contrary.” Id. The Third Circuit therefore concluded that Cooper

 did not compel a different result but commented that it would “leave open for another case the


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    As noted supra, the Debtor withdrew his request for punitive damages at the Summary Judgment
 Hearing, and the Court therefore entered an order partially granting the Summary Judgment Motion with
 respect to that issue.
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 question of whether emotional-distress damages may be recovered under §362(k)(1) against

 federal or state governments.” Id. The Sheriff’s Office argues that this reservation by the

 Court makes it reasonable to view the term “money recovery” in §106(a)(3) narrowly.

         Again, given the Court’s finding that Sacred Heart renders §106(a)(3) of the Bankruptcy

 Code unconstitutional, the term “money recovery” in §106(a)(3) is irrelevant to the Third

 Circuit’s reservation as to how “actual damages” would be viewed in the context of sovereign

 immunity. Moreover, notwithstanding the Third Circuit’s comment in Lansaw, this Court sees

 no reason why, if the states waived sovereign immunity for actual damages sustained from the

 state’s violation of the automatic stay, such waiver would not include any resulting emotional

 distress damages, given Lansaw’s finding that the term “actual damages” in §362(k) includes

 emotional distress damages. Cf. In re Griffin, 415 B.R. 64, 68-69 (Bankr. N.D.N.Y. 2009)

 (finding that §362(k)’s use of the term “actual damages” includes emotional distress damages,

 such that the abrogation of sovereign immunity under §106(a) “unequivocally provides for the

 abrogation of sovereign immunity in connection with an award of actual damages, including

 damages arising from emotional distress to the extent they were caused by the willful violation

 of the automatic stay by a governmental unit and not from the anxiety and pressures inherent in

 the bankruptcy process.”). The Sheriff’s Office has offered no compelling reason why

 Lansaw’s holding as to the scope of “actual damages” under §362(k) is subject to a carve-out for

 governmental actors, and this Court finds that it is not. 23




 23
    The Court’s conclusion that in ratifying the Bankruptcy Clause of the Constitution, the states waived
 sovereign immunity as to liability for resulting actual damages pursuant to §362(k), including emotional
 distress damages, renders moot the second prong of the Sheriff’s Office’s argument; i.e., because
 §106(a)(3) is ambiguous as to emotional distress damages, the Court must look to the Tort Claims Act.
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                        b.      The Debtor Has Failed to Produce Factual Support on
                                Emotional Distress Damages to Survive Summary Judgment

        The Sheriff’s Office argues that “Plaintiff averred generally in his Complaint as to the

 nature of his emotional injuries but has not produced any medical evidence to corroborate the

 harm or to establish the causal connection to the Sheriff’s actions.” Summary Judgment

 Supporting Brief, at 17. According to the Sheriff’s Office, Lansaw holds that only when

 violations are truly egregious should testimony alone suffice to award emotional distress

 damages, and the facts here are markedly different from the patently egregious fact pattern in

 Lansaw. Summary Judgment Supporting Brief, at 17-18.

        The Court first notes that the Lansaw holding regarding what evidence is required to

 establish emotional distress damages is more nuanced than the Sheriff’s Office argues. The

 Lansaw court stated that:

                Depending on the circumstances of each individual case, corroborating
                medical evidence may be required to prove emotional harm and causation.
                But we decline to adopt a bright-line rule requiring such evidence to prove
                emotional-distress damages under §362(k)(1). As we have concluded in
                the context of other federal statutes, we see no reason to require that a
                specific type of evidence be introduced to demonstrate injury in the form of
                emotional distress. And we agree with the Bankruptcy Court that, at least
                where a stay violation is patently egregious, a claimant’s credible testimony
                alone can be sufficient to support an award of emotional-distress damages.
                We are confident that courts can ensure that plaintiffs recover only for
                actual injury even in the absence of expert medical testimony in such cases.

 Id., 853 F.3d at 669 (emphasis added, internal citations and quotations omitted). Although “the

 majority of courts have denied damages for emotional distress where there is no medical or other

 hard evidence to show something more than fleeting or inconsequential injury,” see Stinson v.

 Bi-Rite Restaurant Supply, Inc. (In re Stinson), 295 B.R. 109, 120 n.8 (9th Cir. B.A.P. 2003),

 aff’d in part, rev’d in part, 128 Fed. Appx. 30 (9th Cir. 2005), it goes too far to argue, as the

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 Sheriff’s Office does, that Lansaw stands for the bright-line rule that only when violations are

 truly egregious should testimony alone suffice to establish emotional distress damages. Rather,

 the fact-finding court must determine what evidence is sufficient under the circumstances of the

 particular case before it, even where a stay violation may be egregious.

        Regardless of what evidence is required in any particular case, however, the Sheriff’s

 Office alleges that “Plaintiff has presented zero evidence to corroborate his averments of

 emotional distress or connect the specific actions of the Sheriff to the alleged harm suffered.”

 Summary Judgment Supporting Brief, at 18. In his Summary Judgment Response, the Debtor

 devotes only three conclusory sentences in response: “Defendant’s unlawful action caused

 irreparable harm to the Plaintiff in the form of emotional distress, including: anxiety, difficulty

 sleeping, depression, and mental anguish. Most bankruptcy courts have held that emotional

 distress damages may be awarded only if a causal connection is established between the

 creditor’s actions and the emotional distress suffered. The Sheriff’s actions caused irreparable

 harm to the Plaintiff in the form of emotional distress.” Summary Judgment Response, at 11

 (unnumbered) (citations omitted). The Debtor did not, as required by Federal Rule of

 Bankruptcy Procedure 7056(c), cite to any materials in the record or show that the Summary

 Judgment Motion’s citation to the averments in the Complaint did not establish the absence of a

 genuine dispute. F.R.B.P. 7056(c)(1)(A)-(B).

        The Debtor bears the burden of producing evidence to support each element of his claim

 for emotional distress damages. In order to recover emotional distress damages for willful

 violation of the automatic stay, a party must (1) have suffered significant emotional distress, (2)

 clearly establish the significant emotional distress; and (3) demonstrate a causal connection


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 between that significant emotional distress and the stay violation. Boltz-Rubenstein v. Bank of

 Am. (In re Boltz-Rubinstein), 596 B.R. 494, 503 (Bankr. E.D. Pa. 2019). The Debtor cannot

 survive summary judgment, however, by simply relying on the allegations in the Complaint or

 conclusory assertions of emotional distress. NGK Metals Corp., 609 F.3d at 251 n.2; Banno v.

 Experian Info. Sols., Inc., 2017 U.S. Dist. LEXIS 113045, at *11 (N.D. Ill. Jul 20, 2017). Here,

 although the Debtor may not have been required to produce corroborating medical evidence to

 contest summary judgment under Lansaw, he did not come forth with any factual support for his

 alleged emotional distress damages in response to the Summary Judgment Motion. The bare-

 bones conclusory statements in his Summary Judgment Response, simply summarizing or

 parroting the allegations of the Complaint, do not suffice to contest summary judgment, even

 where all inferences are drawn in a light most favorable to him. Butler v. County of Bucks, 2005

 U.S. Dist. LEXIS 4197, at *9 (E.D. Pa. Mar. 18, 2005) (the non-moving party cannot rely on

 unsupported assertions, conclusory allegations, or mere suspicions in attempting to survive a

 summary judgment motion). The Debtor was instead required to come forth with evidence in

 support of those allegations, in the form of “depositions, documents, electronically stored

 information, affidavits or declarations, stipulations (including those made for purposes of the

 motion only), admissions, interrogatory answers or other materials.” F.R.C.P. 56(c)(1)(A).

 The Debtor failed to do so.

        If the non-moving party fails to meet their evidentiary burden, the court should, in most

 circumstances, grant summary judgment in favor of the movant. Medtronic, 302 F. Supp. 2d at

 435. Here, the Debtor has failed to meet his evidentiary burden in contesting the Summary

 Judgment Motion with respect to his entitlement to emotional distress damages, and therefore the


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 Court will grant the motion on that issue.

        B.      Directed Verdict Motion

        Having found that the Sheriff’s Office is not immunized from liability from actual

 damages for violation of the automatic stay under any of the theories espoused in the Summary

 Judgment Motion, the Court turns to the Directed Verdict Motion.

                1.      Standard for Directed Verdict Under F.R.C.P. 52(c)

        The Sheriff’s Office moves for a directed verdict pursuant to Federal Rule of Civil

 Procedure 52(c), made applicable here pursuant to Federal Rule of Bankruptcy Procedure 7052.

 The rule provides, in relevant part, that “If a party has been fully heard on an issue during a

 nonjury trial and the court finds against the party on that issue, the court may enter judgment

 against the party on a claim or defense that, under the controlling law, can be maintained or

 defeated only with a favorable finding on that issue.” F.R.C.P. 52(c).      In considering whether

 to grant judgment under Rule 52(c), the Court applies the same standard of proof and weighs the

 evidence as it would at the conclusion of trial. Carter v. U.S., 2011 U.S. Dist. LEXIS 148631,

 at *2 (E.D. Pa. Dec. 27, 2011) (quoting EBC, Inc. v. Clark Bldg. Sys., Inc., 618 F.3d 253, 272 (3d

 Cir. 2010)). The Court does not view the evidence through a particular lens or draw inferences

 favorable to either party, and should make determinations of witness credibility where

 appropriate.   Id.

                2.      The Parties’ Arguments

        The Sheriff’s Office makes several arguments in support of a directed verdict in its favor.

 It first argues that the Debtor’s case is fundamentally flawed because (i) the Sheriff’s Office, in

 lawfully enforcing the facially valid writ of possession, was not acting as a creditor or agent of a


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 creditor, but rather as an arm of the CCP Court, and (ii) there was no evidence that Mr. Hassan,

 who was the creditor, notified the Sheriff’s Office of the Debtor’s Petition or took any action to

 stop enforcement of the writ.   The Sheriff’s Office next argues that the Debtor did not establish

 a willful violation of the automatic stay by a preponderance of the evidence at Trial. The

 Sheriff’s Office argues the evidence at Trial established that, although its Real Estate Unit

 received notice of the Petition on or about May 8, 2018, its Civil Enforcement Unit did not

 receive notice until June 7, 2018, and there was no evidence establishing that the Sheriff’s Office

 continued its enforcement efforts after that date.    Finally, the Sheriff’s Office argues that even if

 the Court finds the Sheriff’s Office had effective notice of the Petition as of May 8, 2018, the

 Debtor failed to establish any actual damages violation of the stay caused.      The Sheriff’s Office

 asserts that Mr. Whyte’s testimony was insufficient to award actual damages because it lacked

 precision and reliability with respect to a causal link between the Sheriff’s Office’s enforcement

 actions and the Debtor’s damages.

        In response, the Debtor argues the evidence at Trial conclusively established that the

 Sheriff’s Office had notice of the Petition as of May 8, 2018, when the Sheriff’s Office admits its

 Real Estate Unit received notice. The Debtor contests the Sheriff’s Office’s position that June

 7, 2018, when it asserts the Civil Enforcement Unit received notice, is the trigger date for

 determining whether the Sheriff’s Office willfully violated the automatic stay. The Debtor

 therefore argues that the enforcement actions by the Sheriff’s Office after May 8, 2018, were

 done with knowledge of the bankruptcy, and constitute willful violations of the automatic stay.

 Finally, the Debtor argues his damages were established through Mr. Whyte’s testimony as to the

 behavioral changes the Notice to Vacate and Eviction Notice caused in the Debtor, such as


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 reduced appetite for dinner, increased smoking, and reduced sleep.

                 3.      Legal Standard for Willful Violation of the Automatic Stay

         The Second Amended Complaint lacks clarity as to which subsection or subsections of

 §362(a) the Debtor is asserting the Sheriff’s Office violated. See Second Amended Complaint,

 at ¶47, 56 (asserting violation of §362 generally); ¶49 (asserting violations of §362(a)(1), (2),

 and (3), but not differentiating as to Mr. Hassan and the Sheriff’s Office); ¶65 (asserting

 violation of §362(a)(1), (3), (4), (5) and/or (6)).    Regardless of which provision or provisions

 the Debtor relies on for its claim against the Sheriff’s Office, however, when the automatic stay

 has been violated, the relevant provision for sanctions is §362(k)(1) of the Bankruptcy Code.

 As noted supra, §362(k)(1) of the Bankruptcy Code provides that “an individual injured by any

 willful violation of a stay provided by this section shall recover actual damages, including costs

 and attorneys’ fees, and, in appropriate circumstances, may recover punitive damages.”

 11 U.S.C. §362(k). The section “is ‘remarkably simple’ and requires the imposition of

 sanctions on a party violating the automatic stay upon the [the satisfaction of three elements]:

 First, the offending party must have violated the automatic stay. Second, the violation of the

 stay must have been willful.    Finally, the willful violation must have caused Debtors some

 injury.” In re Miller, 447 B.R. 425, 433 (Bankr. E.D. Pa. 2011) (quoting Wingard v. Altoona

 Reg. Health Systems (In re Wingard), 382 B.R. 892, 900 n.6 (Bankr. W.D. Pa. 2008)). The

 Debtor bears the burden of proving these elements by a preponderance of the evidence.

 Wingard, 382 B.R. at 900 n.6.

         A willful violation of the stay occurs where the stay has been violated “with knowledge

 that the bankruptcy petition has been filed.    Willfulness does not require that the creditor intend


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 to violate the automatic stay provision, rather it requires that the acts which violates the stay be

 intentional.” Lansaw, 853 F.3d at 664 n.4; Renzulli v. Ullman (In re Renzulli), 2015 Bankr.

 LEXIS 4439, at *25 (Bankr. D.N.J. Nov. 23, 2015) (willfulness can be satisfied by showing

 simply that the offending party knew about a debtor’s bankruptcy but proceeded with the stay

 violation nonetheless and does not require that the creditor intend to violate the automatic stay

 provision, rather it requires that the acts which violate the stay be intentional) (citing In re

 Lansdale Family Rest., Inc., 977 F.2d 826, 829 (3d Cir. 1992)). As such, knowledge of the

 existence of the bankruptcy case is treated as knowledge of the automatic stay. Boltz-

 Rubenstein, 596 B.R. at 503.

          With respect to damages, there must be a sufficient factual finding to support a damages

 award.    In re Brown, 2012 Bankr. LEXIS 4271, at *22-23 (Bankr. E.D. Pa. Sept. 6, 2012)

 (citing In re Grine, 439 B.R. 461, 468 (Bankr. N.D. Ohio 2010)).        It is the Debtor’s burden to

 prove injury. City of Phila. v. Walker, 2015 U.S. Dist. LEXIS 157629, at *7 (E.D. Pa. Nov. 23,

 2015). Damages must be proven with reasonable certainty and must not be speculative or based

 on conjecture.    Brown, 2012 Bankr. LEXIS 4271, at *22-23 (quoting Grine, 439 B.R. at 469

 and citing cases).

                  4.     The Debtor Failed to Establish All Elements Required Under
                         §362(k)(1)

                         a.      The Debtor Established Violation of the Stay by the Sheriff’s
                                 Office

          The evidence, in the form of the Sheriff’s Office’s own admission, established that its

 Real Estate Unit received notice of the Debtor’s Petition on May 8, 2018. As noted supra, the

 Real Estate Unit received a faxed notice of the Debtor’s bankruptcy on that date, and both the fax

 cover sheet from the Debtor’s counsel and the notice itself provided the Debtor’s name and the
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 address of the Property.    The Sheriff’s Office has sought to mitigate this fact by drawing

 attention to the reference in the fax cover sheet, as well as the Sheriff’s Return of Service

 generated by the Real Estate Unit, to a Book/Writ number. Directed Verdict Motion, at 9.

 Although it may be that reference to the Book/Writ number alone would not have provided

 notice to the Sheriff’s Office as to who the Debtor was or his relationship to the Property, that

 argument is a red herring where the fax cover sheet and the bankruptcy notice each expressly

 stated the Debtor’s name and the Property address.        That information served as sufficient notice

 both of the Debtor’s Petition and, as importantly for purposes of the automatic stay, that the

 Property was subject in some way to a pending bankruptcy case.

         The evidence also established that the Sheriff’s Office, through its Civil Enforcement

 Unit, served the Notices to Vacate and the Eviction Notices on the Debtor after that date, and did

 not cease its enforcement actions with respect to the CCP Court’s writ of possession until June 7,

 2018. This is a violation of the plain language of §362(a)(2), which stays “the enforcement,

 against the debtor or against property of the estate, of a judgment obtained before the

 commencement of the case under this title.” 11 U.S.C. §362(a)(2). The stay is “applicable to

 all entities.” Id. The Court rejects the Sheriff’s argument in the Directed Verdict Motion that

 because there was no showing that the Sheriff’s Office was acting as a creditor or the agent of a

 creditor, it cannot have violated the stay.    If that were the case, it seems a sheriff’s office would

 virtually never be held liable for stay violations because it is rarely, if ever, the creditor. The

 Court concludes that where the Sheriff’s Office took action violative of the stay, notwithstanding

 that it is not a creditor or acting strictly as an agent of a creditor, it may be held liable for such.

 See, e.g., In re Wilson, 19 B.R. 45 (Bankr. E.D. Pa. 1982) (finding sheriff to have violated the


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 automatic stay where it had notice of the bankruptcy petition but issued a sheriff’s deed post-

 petition).

         The Sheriff’s Office argues in its Directed Verdict Motion that there was no evidence or

 testimony that Mr. Hassan, as the creditor, was given notice of the Petition or took any action to

 stop enforcement of the writ of possession, and that it is “generally accepted law that the burden

 is on the creditor to notify third-parties that the automatic stay is in place and efforts in

 furtherance of execution or enforcement must cease.” Directed Verdict Motion, at 8-9. While

 that may be true in other contexts, it has no relevance here, where the Sheriff’s Office admits that

 it received notice itself on the date the Petition was filed. The Sheriff’s Office therefore cannot

 point the finger at the creditor after-the-fact to argue that it needed to have received notice from

 the creditor as well.

                         b.      The Debtor Established That the Violation Was Willful

         As stated supra, willful violation of the stay occurs where the stay has been violated with

 knowledge that the bankruptcy petition has been filed. The evidence at Trial established that

 the Real Estate Unit of the Sheriff’s Office had notice of the Debtor’s Petition on May 8, 2018,

 but the Sheriff’s Office continued its enforcement actions until June 7, 2018, when its Civil

 Enforcement Unit received notice. The Sheriff’s Office therefore had knowledge of the

 Debtor’s bankruptcy filing on May 8, 2018, and its service of the Notices to Vacate and Eviction

 Notices after that date constitute a willful violation of the automatic stay.

         The Sheriff’s Office seeks to skirt this by arguing that there was no evidence that the

 Civil Enforcement Unit, which was responsible for carrying out the writ enforcement actions,

 had notice of the Debtor’s bankruptcy prior to June 7, 2018. The Court rejects this argument


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 and finds that notice of the Debtor’s Petition received by the Real Estate Unit on May 8, 2018,

 charged the Sheriff’s Office as a whole with knowledge of Petition. The Sheriff’s Office’s own

 internal policy, admitted into evidence, does not differentiate between its various units when

 directing that all enforcement action is to cease upon the Sheriff’s Office receiving notice of a

 bankruptcy filing. To the extent the Sheriff’s Office is comprised of different units with

 varying responsibilities, and even disparate physical headquarters, it is incumbent upon the

 Sheriff’s Office to develop procedures and training to ensure that notice of a bankruptcy filing

 received by one unit is timely and effectively disseminated to all other units to prevent violations

 of the automatic stay.    Cf., e.g., In re Smith Audio Visual, Inc., 2013 Bankr. LEXIS 1211, at

 *14-15 (Bankr. D. Kan. Mar. 28, 2013) (finding the IRS could not argue that bankruptcy notice

 sent to one division of its offices in Philadelphia was not proper where it could have been

 forwarded to the appropriate division if its employees were properly trained); Reyes v. Standard

 Parking Corp., 461 B.R. 153, 160 (D.R.I. 2011) (noting that “[i]n the bankruptcy context, notice

 to a company’s branch or division generally satisfies the due process requirements for the entire

 company.”); In re Drexel Burnham Lambert Grp., Inc., 129 B.R. 22, 24 (Bankr. S.D.N.Y. 1991)

 (finding notice properly served on branch offices of a bank because the bank “bears

 responsibility for having adequate systems in place to ensure that legal notices and other

 communications reach the appropriate parts of its business empire”).

                          c.    The Debtor Did Not Establish Injury or Damages Causally
                                Connected to the Stay Violation

        Where a debtor proves a willful violation of the automatic stay by a preponderance of the

 evidence, recovery pursuant to §362(k)(1) also requires proof by a preponderance of the

 evidence of actual injury and damages.     Here, the Debtor did not meet that evidentiary burden.

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            At Trial, the Debtor relied on the testimony of Mr. Whyte to establish the Debtor’s injury

 and damages resulting from the Sheriff’s Office serving the Notices to Vacate and Eviction

 Notices. 24     When asked about the effect the notices had on the Debtor, Mr. Whyte testified that

 “he’s been kind of like distorted … But on top of that also, just been – you know, he’s been

 off.” 25    Mr. Whyte testified that the Debtor had been smoking more cigarettes, not eating

 dinners that Mr. Whyte made for him, “missing sleep and things like that,” and at times sitting

 alone in the living room without watching television. 26       Mr. Whyte testified, however, that the

 Debtor continued to work at his part-time job. 27        Mr. Whyte’s testimony on the Debtor’s

 purported damages was brief and very limited, and the Sheriff’s Office argues that “the lack of

 context, detail or temporal perspective that can link any of Mr. Whyte’s observations causally to

 the alleged stay violations renders the damages testimony unconvincing and unreliable.” The

 Court does not view Mr. Whyte’s testimony as unreliable in a general sense, but agrees that it

 lacked the precision, clarity, and detail to meet the Debtor’s burden of establishing a causal link

 between the Sheriff’s Office’s stay violation and the Debtor’s relatively subtle behavioral

 changes. Mr. Whyte’s testimony did not establish that the somewhat ill-defined changes he

 observed in the Debtor were caused by the Sheriff’s Office serving the Notice to Vacate and the

 Eviction Notice, and not by other factors such as the Debtor having to file for bankruptcy in the


 24
    As noted supra, the Debtor is deaf and mute, and was unable to testify on his own behalf. Mr.
 Whyte’s testimony regarding the Debtor’s injury and damages was limited to his own observations. N.T.
 43:7 to 45:24. The Court is cognizant of the limitation that the Debtor’s condition presented with respect
 to his ability to present evidence on damages and considered Mr. Whyte’s testimony in light of that
 limitation, but remains unconvinced that such testimony was sufficient to meet the Debtor’s evidentiary
 burden.
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      N.T. at 95:16 to 95:25.
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      N.T. at 95:25 to 98:6.
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      N.T. at 59:6 to 59:17.
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 first place or the issuance of the writ of possession the day before the Debtor filed his Petition.

 Where damages must be proven with reasonable certainty and must not be speculative or based

 on conjecture, Mr. Whyte’s testimony was insufficient for the Court to make factual findings,

 supported by the evidence, that the Sheriff’s Office’s stay violation caused the Debtor’s

 behavioral changes on which the Debtor relies for his purported damages.

         Having found that the Debtor failed to prove injury or damages causally linked to the

 Sheriff’s Office’s stay violation, the remaining question is whether the Debtor can, nonetheless,

 recover costs and attorneys’ fees as authorized by §362(k). The caselaw on this issue cuts both

 ways. See generally, Grine, 439 B.R. 461, 471-72 (“Some courts hold that attorneys’ fee may

 not be awarded absent other compensable damages incurred by the complainant.          Other courts

 hold that attorneys’ fees may be recoverable as damages under §362(k) even if debtors have not

 proven other compensable harm.”) (collecting cases and siding with courts finding that

 attorneys’ fees are still recoverable even absent other provable damages, based both on §362(k)’s

 provision for damages “including” attorneys’ fees and on the general remedial purpose of the

 statute).   Indeed, courts within this circuit have come down on opposite sides of the issue.

 Compare, e.g., In re Oakey, 2015 Bankr. LEXIS 3061 (Bankr. D.N.J. Sept. 9, 2015) (actual

 damages in the form of attorneys’ fees can be appropriate, despite the fact that there may not

 have been other compensable harm to the debtor), with New MMI Corp. v. Robec, Inc., 150 B.R.

 573 (Bankr. M.D. Pa. 1992) (because the plaintiff failed to establish any actual damages from a

 stay violation apart from legal fees and costs, no award for sanctions, including fees and costs,

 was assessable).

         The Court, however, adheres to the reasoning of Walker, in which the district court for


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 this district reversed a bankruptcy court decision awarding fees and costs to a debtor’s attorneys

 where they had not proven injury or damages to the debtor caused by a stay violation.        Walker,

 2015 U.S. Dist. LEXIS 157629. The district court first noted that “a plain reading of

 [§362(k)(1)] reveals that the bankruptcy court failed to apply the proper legal standard when it

 awarded [the debtor’s attorneys] their fees and costs.” Id. at *6. After setting forth the three

 elements required for recovery under the statute, the district court reasoned that “Section

 362(k)(1) makes clear that injury is a condition precedent to any request for actual damages: ‘an

 individual injured by any willful violation of a stay provided by this section shall recover actual

 damages, including costs and attorneys’ fees, and, in appropriate circumstances, may recover

 punitive damages.’”     Id. at *7-*8 (emphasis in original). The district court distinguished the

 decisions the bankruptcy court had cited in support of awarding fees, noting that they had “first

 found that the debtor proved the willful violation of the stay caused the debtor an injury before

 awarding attorneys’ fees.” Id. at *8 (citing cases). Because no such finding had been made by

 the bankruptcy court, the district court reversed its decision to award fees and costs to the

 debtor’s counsel.   Id. at *12.    See also, In re Whitt, 79 B.R. 611, 616 (Bankr. E.D. Pa. 1987)

 (costs and attorneys’ fees under §362(h), which later became §362(k), are allowable only to

 “embellish actual damages”).

        This Court agrees with the district court’s holding in Walker. Section 362(k)(1)

 conditions the recovery of actual damages, including attorneys’ fees and costs, on an individual

 being injured by a willful stay violation. This prerequisite is not only statutorily mandated, but

 further serves courts’ reluctance to foster a “cottage industry built around satellite fee litigation

 for willful stay violations” that cause no injury.    Miller, 447 B.R. at 435. Where the individual


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 has not proved injury, they cannot recover damages, whether it be attorneys’ fees and costs or

 other asserted damages. Here, the Debtor failed to prove injury or actual damages causally

 linked to the Sheriff’s Office’s stay violation, and therefore the Court will not award a sanction

 of attorneys’ fees and costs to the Debtor.

 V.     CONCLUSION

        For the reasons discussed above, this Court will (i) grant the Summary Judgment Motion

 with respect to the Debtor’s request for damages for emotional distress, and deny it on all other

 grounds asserted, (ii) grant the Directed Verdict Motion, and (iii) deny the Debtor’s request for

 damages under §362(k). An Order consistent with this Memorandum will be entered.


 Dated: November 8, 2021
                                                       MAGDELINE D. COLEMAN
                                                       CHIEF U.S. BANKRUPTCY JUDGE

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